               Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 1 of 53 Page ID #:453




                        1    _~~~t2~ ~RY_~a~~2                                               FILED
                                                                                  CLERK
                                                                                      ., U.S. DI; ~~i';T rG°,J'
                                                                                               ------ -_r~.. ?T
                    2 1 ~.    l~Q ~C o~ ~lDO(~~
                          L•
                         :
                        3 ~S~P~~.. Cpl. ~15~~7I
                                                                                   i. __...._. _. ___ ___ _
                                                                               CEftJTkF;L D;~;F~I~:f Ur E,Aw
                        4                                                      LY

                        5

                        6

                                            i~f ~_ t~t~T~D -5iRTC DT~S~1R~`i ~ CUC(~i
                        s
                        9

                   ~o
                   ~~ t~~~Zc~ ~ ~~trzti~~
                  12
                                       f 1,~~F,
                                                                            Fri ~M~~~~'~ C'C_~r~i'P— _
                                                                            L~NT~
                  13

                  14

                  15'~
                     ~1-A~t4~.v4'~     Ct   .~, ~.,i. ~L .1
                                       i~c~tJC>Pc~"C
                  1.6

                  1~         l~c~i~ CviY1~S L~Fa~vz_C3 R ,
                              ~                                 it,~Q1~1~~.~C~C~`~~-~`1 T'l_.Pi t
                  ~8 1~f~ aF : ii~''t~0 ~~ ~~1~tT=,..~i~-~~ ~C'3~l_d ~  ~ 1~~"I~~I~I~J~'1~ F.:~P.~i CC~l~~-



                  21    i .i1-1~ ~4~~'SD1~( L~I~ ~i-O~ ~~~ CQI,I~~ ~S1~11UOLiI~TIG
                  22 CtJCP` Lf~I~1C1~~i' ~TIIM#
                                                '~ M    ~~ ~~L~} C'.:f~~ ~',`{S'i~M
                                                                                    .
                  23          Z,~~     ~r~r~~~:~ ~~e~r,.r~._
                                                           -~,.r           r ~u`~€siN-~-i
                  a~ ~1U~1"~ Nl~i~~~
                                     C.A-                P~.~    1   n.1 f~~LD~~G
                                                                                  D~c~~-~D,
                  25        ~.~:~c.~s~~o I'~           F~ ~~( ~~ ~ A . S~/~c~~ D~t~~ ~Df~ t~D
                  2g ~~.,~.,~~a / ~ ~~,..~~~t~~~ , ~t~., M~r~ o                          ~ A~.s
                                                                ~cN-P                    lP.st~~t~K ..
                            ~.~~7 ~4C.1.~.`f,
 OIJRT PAPER
 -ATE OF CALIFORNIA
(D. 1 ~ 3 IgEY. 3-BSI

 3P 98 10821

                                                                •
    Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 2 of 53 Page ID #:454

1




                                            ~•v                                         ~            ~           _
             ~~       ~       ~~
                                                ._ aft a           ar .          ►..             "~ ~L          _•a:                ►~




                                   ~       ~—                ~.

                       1.
                 ~        ~                                  .:• 1 ~             .~ ~             ~~                 :..r




      ~~~ ~1~ ..               t 7►                 ~              t

~       ~~   ~        ~~V                       \            ~ ~   ~             ~           ~                            r

~        L                             ♦    ■~          ~► ~!' ~                            ~.   tip     _~\ ~Z~ _            i4~




      1..~           ~ fr~~ 1~ ►           V.            ~~                  a~~                          ~.




                                                         ~~            1i              :~~       ►        ~~u         ~




      :'~1             ~►J         ~                    ~l             ~    ~~                   7~        t                  ~'




                                                                   2.
     Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 3 of 53 Page ID #:455

1




          ►     u!                 ~_       r       ~ ~                       ~"   ~




          is    ~         *~            ~                 ~~    ''
                                                               L~    ''   ►        i~       ~     /     S■   ~._~ •

10

11     :
       ! ~ ~~                               ~ ~~          ~►_~.Jl►. :~~                                      is
lz     ~4eT~ Air lD Ql~~~.—~1_~ D~ SC~~ t~ FULL                                             ~3~ L c~
13

14

15       '!~ i~                    ,                                                    •
                                                           ~         ~~~ '►                 te
                                                                                             a! t~~ '             :~

16

17

18

19

20

21        yes        ~         ►            ~r~C,   1          :,         r

22

23

24

Z5        4          ~~    ~~                        s                                 •i               ~     ■l~

Z6

Z7

28




                                                               ~.
    Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 4 of 53 Page ID #:456

      •                     r   .



       i.~                  t~ •            ~    ~~                     La         ~••' ■~!~                   .          a
       ~~.•                                                             ~                                      n

                                          [~      '11:4 u'                         ~~



       ~~                   ~ J■                     ~~ ~f~11 ic. ~            ~              ~►                          ■t
•                  /            ~         r f.          ■ate.                                                        -         ~.
                                                                            ■`       ~             ~       ■
1      ~        1• ~ •                    ~~~ " !rte                      '`       ~~                  ~       •




                 _:L .                          r, ~    ~~      ~            :~ ~        ~r




t     ~,


                                    r!~     ~~                    ~ ifs      i.~    ~~        ~ r~~

       ~ 'mod          "'
                                                 ~     ~ '! A/                       ~   ~         iV              ~1~~

       ~.                                   ~                       ~         '~
       ~J.               ~:     :~                     ■ ~.`~r~
        tea. ~.                      F.. s              ~~ ~      :1~~               C                     ~       :~7► ~~.


      V '       ~~l             t



                                                             ~~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 5 of 53 Page ID #:457


                   r i~1.~ _~       i \      ~ ~ ~~                    ►   ~                   ~       •



        ICI:' Nl      r       i►!       ►    C



         ._~        _9                  ~~

               IL i. ~J...I                          r    ~       ~~
         ci/1~►A         .     L 1~r         i~           s                             [~ '                '



       _~if         ,►fir           /            ~            1

 10
 ~~
 12

 13       `~.[~~i           r. A         i                ~            .   r   • ~~R~
 14

 15       1 ~ ., ~,.~~ ~~~'~~~ a~ 3 • ~ •oZ09~ ~'-Kai"~l-
                                                         ii."~f ~Av~ i7~.•
 16   ~' • ~.J 9f~ !"LFJ~ ~1VL      ~7 V~    ~~~ 1 f 1 1 L. Crt~+~" 4.L,V'
                                                                           ~C
                                                                            ~1                 1~1~   ~L.~7L4-1 ~1 ~

 17   ~F~ `.LTL~P~\~~ ~~-~7',I~I~?~"'( I"~Y' '~3F~~. 1/~
                                                             '~ ~-C~l2.T" ~l~
 1a   ~C ~UIL.t7 Q1~1LY ~3L 1 1,0 17C~ vJP~ ~S fi~~'~0 ~~JE?
                                                             2~ t~ =   .J
 19

 zo   ~,~ _~kU3~ PF ~2V~~ ~~~~~~-a~C7 ~1'-~~ft~
                                                ~{~31~ "~U
 ~1   ~2jY~ ~.~ ~F ~~iii~I~ ,
 zz
 23

24    A~~.~~~ ~~C£ A~t~ll~ ~~lems- ~ ~~ t~[i.~ Gic31~
                                                      G
25

26

2~    l a w~.~f~c~,~.lr~ A~v1~ l~/~ 1~ ~~S~t1C~
                                                    /'   S
zs    ~~~~~.—,~F~~T L~Y~I.- A~1D MY S~~U-S
                                                MEC~CA~ N~i~S



                                                     '~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 6 of 53 Page ID #:458


          ~, ~PI.~Nl~C~ ~                    ~~~#~~2a c.v~ fib•SvJaf3~




              _,



         ■t        ~   i1L 1   ~   ~   ~l        ~   t



 to
 ~~
 sz
 13

 14

 15

 16   T~1 ~--~A~-D~ ~ i`'1~ f~~ A~bD ~A~ ~Z'~'vl`t~C~)t~1~~~~
 ~~   T~ {~v~ ~uF~.P~.~ ~O~'1 t~ Gc,~-tJ S'~-~~ ~-rdi.~~ D P~~u~t,~1~ICi
 is
 19     ~22 . '~`~~10~~ I~t~~~ N-~~ ~~.Y,~ AND ~t~~~~ F
 Zo
 z~
 zz
 23   f''~il/~1GJL~Ca~° i~~~(~C "1-~ • C'~ ~~C_.~~~" (►'~``A-~ ~Dz I—~
24

25

26    ~1 ~A~T~-CT~~'FF ~l~ ~il~ 1.,~- r~ ~-C-~~IMP'l~~ lrrU~L~e-~ . ~ nf-t ~
z~
Zs



                                            5,
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 7 of 53 Page ID #:459


       TO ~'~'~i ~ ~D~.C3.Lt1~1~ M~1'~~C~ ~'Af~~ ~1~~~S ~~-~'1.4~~




      2~L~'t~~N~~ W~ /~e~~l~ to N D~'~i"1-~-~~a~ o~ s'~T~ ~~'1n/
      ~4T L~uC~S~2 AN,I~ ,~t~ Staf~,~~`-~~ SJ-~J k~~~•;L~~~
      of~l~r~c-c~J~~G~.~~~c_,~.C~ Cc,
                                    1 Nlf~~k~'r~[~                      ~
      f~~C~~l~r~~►.l C~-RaKo
 10
 11

 iz
 13

 14

 15   ~1- ~~j~.~~—~e.,~t ~JC~ri~t , ol~l el~/~ •amid
 16

 1~
 is
 19

zo
 21      V`~~'~~ t,~: i~C:~ ~N. ~.T'~—`~~.l.F l~N..~- ~~ '~~ ~~l~F~ IrtzS
zz    A~~ ~0~~3~ ~ t~ND ~,~l~'~ ~t'F~2~ ~~'~-.-r~l~h~tTS T~~_
23    C~PP~~u~-t~T`~Y
                    i D ~A-e`P~`~ `'i~~ ~tD~FF~P-PrNC~ ~/kT 4JJk~
24    ~•tG ~~L~--~~(~1~1.~ ~1-~~i
                                ~P- ~D [3.~ A~~~ P~r3~~~J~ tv~-M-~.r~
25    PRA~~ -rte ~g~tY C~t~.t~~ c~r~ ~~~+~c~- ~ ~~1
26    S~~i,~S j'Yl~t'~L N~~ ~t +,2 ~ L~G~2~~~ ~l~ctt< f~1~t/~ ~-
z~    ~~Gi-~~
z8
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 8 of 53 Page ID #:460




          a~, etr . s~-~K~s c~.o ~a1181~c1~z ~ C1                 ~ ~~~t~
                                                                        -v~
      a              ~F l          ~`T~f C.4-,~~ . ~41~1~ ,qNa.    ~ 5c..~P~Q~ti~IZ_




 io   /f~'~'cam`~~         ~-Y~l.J ~~y~~~~ ~~~~I~'I ~i
 11

 ~z       ^'ms   s P           ~i~s ~`4S/ham ~i/O~L~l~~~ of                   ~~g,F~
 13     ~=`T~,'~ (c .r~.c .~ PctC~~Y `/
                                      ~~~ ~~G P_.~=~-~~~, ~4nfd/~,~e
 14

 15

 16

 ~~   ~
      -d~             ,~-~s ,~~~~c~ ic/~~ ~l Tom'. ~~C~r--
 is   .~3J d~ ~~-              ~        s CONS~~<i~~~L_~=~1~~. .
 19       tit ~'f. P..t.~ ~~~--~'r~ ~1 ~,NC~~`~ JJI~M ~~f~ ~~~
                                                               I~ ~4z~
zo    'SL,4~~ ~ C: '1r~.lC~ t~C-               ~d ~1~-~2€~ C'~1~~--lam 1.l-~~
21

zz    CAS_ ~r~D ~ ~"F~?C ~~ p~~~~;~ V~~L~=C~' Cc.~
23    ~~,1ti9 ~~. Q ~,i `SIG '~P~M l.A~.~ ~F ~~~c,~M~ /'~~ G~
24       ...P~i a-.Yv(~
                 i      Q~= ~~t,l;~`~°, e01~Sl~ft~~l1lLC C.v~~ ~C~ ,P~4-~.~
zs
26    .~S'~~~1.7 .~'.
      p                        ~~ /~D ~1~~/''L~C~'c'~L~~/, /b1~%~ GF~/ FG~T
                                                                            ~~~
z~          C'~ru(~T<
                    -~N"~ CFI               ~~i~~e'~ ~'      c,c~i~ t11~0 f~~
zs




                                             7~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 9 of 53 Page ID #:461


       o~ ~s~.c c~~~k ,, saT is~ ~uY ~~c~ oF ~~~~ c~~-




 1~               ~1~        ~


 IZ


 iz
 13

 14   i   C              ~             ~~       .. J            /mot!       ~               t
 15                                           r~~    ►
                                                     r~ '       C r~~
 16                          :~ • _         '~!.~~_         ~       '                  ~   ■rub   1~s~
17

18

19

zo                !t .                ~/■ `     ` ' r ~ [~              ~   ■ilk
21                           ~~             ~                                          ~    ~"
22

23    i~r     ~

24

25    ~                  ■t ~     v           ~L                            -      a

26        /                                           ~         )                      i
27

28
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 10 of 53 Page ID #:462




                                                Ci~2~ CLP~~~1 ~~~F
                           \\                                      ~                         ~i
                           '~                   L!k G o F
                          ~                     T~ ~ID~F~P-A~lc~ Tt~ S                         ~~S
                                                  M~t~~ t~l~~~

         ~5,       PL,~rrr~~F~ ~.~cc~~~~~-r~s~~c~2~.~r.~c~.- ~~~ Cccx~►.~is
      ',~-~rz~.~ X45 ~ s~'~~o~TN l~4~?4okN~, ~ ~ ~.s►cL~ 'Fc~~2 ~~-




            ~              '►
10

11      ~~.               ~.       —.7fi                   ~    ~.

12              .•   f"                               ~~                     ~                                    ~

13    L~De~~. ~~ ~~~1T~~-'S Szf~c,s ~t~~cA~~i~~s c~F ~~~r~e~~
14    /~CCr~~ ~c~~r~~r.~ ~ A-nt [~ A-~~~i~~l~ D ~tif~e~- ~ ~~4ZTi Wl ~D~ 1 ~ ~
IS                                 .i~iJ ~3`~ S ~C.C;~~"_"~.~ l~ C 4 c~ ~~ ~~t (.l~ ~:+-~)
                     f~ ~~tN4~1 1F~-f
      ~~Ct! S ~
 16

 17                                                                                    . `~F~~ t     ~       ~~
                                                 ~t            Iii_ :n,      u

18

19                                          •                          ~ _+~.     __
 20   i . ~ ►!                 -           _9.    •             Vi
                                                                 ,
                                                                 i           1 '.
                                                                               0        ►~

 21     ~ ~           'a             ~.                ~.1           ~~, - ~._   !emu                *   ►        ~.

 22

 23               . _1              .~                                                                       —

 za
 25   ~~n       ~`lST~M~CiiF~~ E' . D ~ ~S ~~~~,LL~'1'~I~l `~3`~C~ ~c~~ ~o
 26         ~-'^~`P 1~rr~L'''[~!~ '7~-~~~ A'V~`S~ 1`/~~~la`C~N G                                                  ~C~
      ~~i~~~
 27

 28   µ~ Cf~t,~s~ PcN ~ s'`t~l.L ~ c~,c~                                                   ~ntJur~s ~u~~ P~.1
                                                                 ~.
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 11 of 53 Page ID #:463


                  ~. AvJA~rZI~ C~~.1~I~ CC?Ml'~NS`~i
                                                   ~~~ Ot~M A~~~~ ~d t~


       C~2C►nIO~S t,~+I~CI~ 1i4~ C#~c~t,~gt~ t~-n(l~ ~.S C'4r (~l~(~c~..~C? ~rn



       /~1~   ..LYNY A~ ~       f 11—~
                                    1  t~ 1   f ~ I;'..~~ [ f~   /`~ ~ ~    ~s /~fli~~   /1 ~ ~i ~ ~7T—TT'rl1 1




                    ~t          ~~ ~      l~~~                                                            -
                                                                 •   ~'~~     .ice ~ ~          ~\~

      i~1I                            -       ~
 10

 11                         ~     ~

 12                                                              _~ ~   `   •

 13                  :~!                                                                  ~
 14           ~     ~       1-        ~~~                        ~~1                               •~         ~
 15

 16    ~                ~       1                          ~     ~R     ~   ~ ~'                ~L       ~~

 17

 is    ~~ K,~~c,.s~~~G-~~                          ~.X~C~.c
                                                        i   ~c~ ~ • '7• ~a I(r~ ~~ ~ , ~~ p s
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28



                                                           IQ
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 12 of 53 Page ID #:464




                               ~~~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 13 of 53 Page ID #:465

               ~~~
       ~~,::                                                                                                                                    ti~                     '`il
               a

                                                                     ,~   ~                     '
                                                                                                         }
                                                                                                                           l                           ~ '~ ~
                                                                                                                                                                    ~
                                                                                                                           ~                        ~~.,~~
                                                                                                                           Q '-                 I      ~ ~~


                                                                                                                          ~        ~ 51 ~   Kl t
                                                                                                                                                        ~       d


                                            Institution Response for First Level HC ~-lppeal                                                }

                                                                                                                                                                ~=ms s
 Date:         3/6/2012

 To:           Turner. Lafonzo (G05794)
               D 109E
               California State Prison — LA County
                                                                                                                   INNATE COPY
               P.O. Box 4670
               Lancaster, CA 93539-4670

 Tracling/Log #:                    LAC HC 12044217

  Appeal Issues:
  In your CDCR-602HC Inmate/Parolee Heath Care Appeal Form received on 2/1/2012, you indicated:

                Issue Type                                             Action Requested                                           Disposition
  Issue 1:      ACcomodatlon                                           Wants Chrono for lo~v bunk and low                         Denied
                                                                       tier


  Interview:

  You were interviewed by Dr. A. S~vaby D.O on 3/6/2012 regarding this appeal. During the interview, you were
  allowed the opportunity to filly explain your appeal issue(s). Your appeal, UHR,and all pertinent departmental
  policies and procedures were reviewed.


  The Disability Effective Communication System. was checked and you were determined to have a test for Basic
  Adult Education(TABE)score of above 4.0 and did not require accommodation to ensure effective
  communication.


  Response:
  Tuday ~~~u were seen, e.ramined, anti your U~iK was revie~veci .Y"ou were s~~en and an attempt was made to
                                                             • ~
  ^:ti~lllllllC yV'll. ~Uii 'vVCi'C: IiOit',;U i0 1~1u: 'v'~ i ii u S~ii~fl~ illlCi :iic^1u~ gc11t '.`J.~~1CL:[ ASS~~::illl;t Ui ll(;'~:: IG ~'~USE'. C!i
  c
  refused to cooperate with the examination of your extremities, you stated "Just look at my file, you don't need to
  examine me". As such no medical necessity for a low bunk or low tier is established at this time.

   A review of your appeal with attachment(s), Unit Health Record (UHR), and all pertinent departmental policies
   and procedures were reviewed.

   Appeal Decision:

   Based upon the aforementioned information, your appeal Denied
                                                                                                                                            ~,.- ~~,
                                                                                                                                                                ~~12
                                                                                                                                                        J



   D~nied :Low Bunk/Low Tier



      If dissatisfied, submit additional information or reason for requesting a Second Level of Review and submit to
   Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 14 of 53 Page ID #:466
                                                                                        Turner, L,afonzo(G0~79~)
                                                                                              LAC HC 120~4~217
                                                                                                      Page 2 of 2


       the Health Care Appeal Coordinator within 30 days of receipt of this response.

s~ ~                     `---                                     ~~~I~~
       ~s
       a.      yD.o.                                         Date
       Physician &Surgeon
       California State Prison, Los Angeles County



                 ~, ,~~~-~                                                ~ ~~
       A. Adams M.D, MBA                                      Date
       Chief Physician &Surgeon
       California State Prison, Los Angeles County




                                                                                              >_~,_:. -
                                                                                                P




                                                                                                 n~'~ ~~~~



                                                                                                     1    v
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 15 of 53 Page ID #:467




    ~                                                                                   ~   s
                        HEALTH CARE --
                                    S~RVi~ES ~~ ~                                               '~
                                                                                                                 ~{~~y4     _




                               Institution Response for Second Level HC Appeal
                                                                                                 INMATE COP`(
 Date:      4/17/2012

 To:        TURNER,LAFONZA (G05794)
            D 001 109001E
            California State Prison — LA County
            P.O. Box 4670
            Lancaster, CA 93539-4670

 Tracking/Log #:             LAC HC 12044217

 Appeal Issues:
 In your CDCR-602HC Inmate/Parolee Health Care Appeal Form received on 2/13/2012, you indicated that you
 had the following issue/concern:
             Issue/Concern                         Action Requested
             Chrono                                Wants a bottom bunk/lo~v tier Chrono

 Interview:

  You were interviewed by CSP-LAC medical provider Dr. A. Swaby on 3/6/2012 regarding this appeal. During
  the interview, you were allowed the opportunity to fully explain your appeal issues.

  A review of your appeal with attachments, Unit Health Record (U~~R), and all pertinent departmental policies
  and procedures were reviewed.
  Response:
  The First Level Appeal, received on 2/13/2012 indicated that you want a bottom bunk/low tier Chrono.

  You were interviewed, examined and your medical record reviewed by CSP-LAC medical provider Dr. A.
  Swaby on 3/6/2012.

  Unfortunaieiy, you were not fuiiy cooperative with Dr. Swaoy's pnysicai examination. ~-iowever, you were
  observed to walk with a strong and steady gait.

  Dr. Swaby was unable to establish the medical necessity of either a bottom bunk or a low tier cell assignment so
  a bottom bunk/low tier Chrono was not written for you.
  Appeal Decision:                                                                                     f;~~~~'~''~
                                                                                                 ! ;
  Based upon the aforementioned information, your appeal was Denied.                             ~                ,~12
                                                                                                        ~l:N 5             `h~.

  Denied:                                                                                                             ~
                                                                                                        4 j          r     ~ ,.
                                                                                                         ~ ~%r`G
        •   Bottom bunk/low tier Chrono                                                                       ,,..~T.~.-
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 16 of 53 Page ID #:468
                                                                                               TURNER, L.(G05794)
                                                                       ,~    ;'~, ~ ~;~~~'        LAC HC 12044?17
                                                                              ~ ~ 7 ~ ~~. -~            Page2of3
                                                                            ~.
 The Second Level Appeal, received on 3/30/2012 indicated that you were dissatisfied since your request had not
 been met and you added at the Second Level of Appeal additional issues and concerns that you claim to have a
 permanent Chrono for a bottom bunk/low tier cell assiament, that you walk with an assistive device and that you
 believe that if you are not in a bottom bunk/low tier that you are being placed in danger.

 You are only thirty-nine years old, you have a BMI(body mass index) of 21.6, your gait has been observed to be
 strong, steady and intact, and there is no documentation in your medical records of any of the medical conditions,
 anatomical abnormalities, mobility impairment or medical infirmities that would either establish the medical
 necessity of a bottom bunk or a low tier or which would meet CDCR guidelines and criteria for a bottom bunk or a
 low tier cell assignment. Therefore, a bottom bunk/low tier Chrono will not be ordered or approved.

 It is recommended that you use the AFO (ankle foot orthotics which you were given by the orthotist on 10/3/2011
 on a_regular basis.

 It is inappropriate for an inmate-patient to recommend or demand a treatment p!an and then expect a CDCR
 Medical Provider to implement the requested treatment plan. Medical treatment is determined by a Medical
 Provider based on their evaluation, diaaosis and CDCR policy.

 CSP-LAC and the CDCR utilize InterQual Care criteria to evaluate the necessity of healthcare services. InterQual
 criteria are internationally recobized guidelines that support the delivery of quality health care as well as
 reviewer consistency. In addition to InterQual criteria, review of the English language, peer reviewed, evidence
 based medical literature may be utilized in the decision making process. Utilization mana;ement decisions are
 based on the appropriateness and effectiveness of healthcare services.

 CDCR medical staff is under no obli;ation to provide treatment as ordered by another institution or outside
 facility. Medical treatment is based upon the judgment of CSP-LAC medical providers that the treatment is
 considered effective for the purpose intended, is evidence based and is supported by diagnostic information.
 Medical diagnosis and treatment recommendations may vary between facilities and consultants throughout the
 CDCR.

 You are considered an active partner and participant in the health care delivery system. You are encouraged to
 cooperate with your medical providers in order to receive proper care and management of your medical
 conditions. You will continue to be evaluated and treatment will be provided based on your clinician's evaluation,
 diagnosis and recommended treatment plan in accordance with appropriate policies and procedures.

 It is noted that you addressed the following new issues and concerns at the Second Level of Appeal Review that
 you claim to have a permanent Chrono for a bottom bunk/low tier cell assignment, that you walk with an assistive
 device and that you believe that if you are not in a bottom bunk/low tier that you are bein; placed in danger which
 were not requested at the First Level of Appeal. Therefore,these additional requested items and concerns will not
 be addressed at this Second Level of Appeal. Please refer to the California Code of regulations, Title 15, Section
 3084.6(b)(16) which states,"The appeal issue or complaint emphasis has been changed at some point in the
 process to the extent that the issue is entirely new, and the required levels of review and assessment have thereby
 been circumvented". If the ne~v issues and concerns you addressed are still a concern, please submit a Health
 Care Request Form, CDCR 7362, if you require medical assistance.
                                                                                                  ,~.~ z_
 Appeal Decision:                                                                                 ,~~  'Y'~4

 Based upon the aforementioned information, your appeal is Denied.                                    2~ ~~~

  Denied:                                                                                           r`'-   J
                                                                                                               .
                                                                                                   u.;w..~~;.1;
     •      Bottom bunlv'low tier Chrono
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 17 of 53 Page ID #:469
                                                                                          TURNER, L.(G0~794)
                                                                         x,~ .               LAC HC 120=4217
                                                                            ~ ~~: ~"~ ~~,~~~
                                                                            '                      Page 3 of 3
                                                                                 ,~
 If dissatisfied, submit reasons for requestin; a Director's Level of Review and mail to the'Cliird Level within 30
 calendar days of receipt of this response.


  ~~~.~~ M n , ~~                        ~1~~                 4/17/2012
 P. FINANDER,M.D., M.B.A, C HP                                  Date
 Chief Medical Executive
 California State Prison -Los Angeles County



                                                                    ~ l /~
 P.SHANK                                                          Date
 Chief Executive Officer, Health Care(A)
 California Stute Prison -Las Angeles County




                                                                                                   ~~
                                                                                             3~~~ t
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 18 of 53 Page ID #:470

 STATE OF CALIFORNI.1                                                                     J. Clarl: Kelso, Receiver

 PRISON HEALTH CARE SERVICES .


                                                                                               <~
                                                                                                    ~,      "k
                                                                                                                 R
                                                                                                          :
                                                                                                          ~          4




                                                                                                >        ;~
                                                                                                         ~'/~ ~ T`e~
 Date:      February 8, 2011
 To:        TURNER,LAFONZO(G05794)
            California State Prison — LA County
            P.O. BoY 4670
            Lancaster, CA 93539-4670


 From:      California Prison Health Care Services
            Office of Third Level Appeals -Health Care
            P.O. Box 4038
            Sacramento, CA 9821-4038


 Tract-:inb/Log #:    .LAC HC 1000?9S9          Institution Tracking/Loy # :LAC-25-10-1?661
 Tllis appeal was reviewed on behalf of the Director, California Department of Corrections and Rehabilitation
(CDCR); by staff under the supervision of the Health Program Manager III. All submitted information has been
 considered.                                        ~      V
 DIFZECTOR'S LEVEL DECISION:
 Appeal is denied.

 ISSUES:
 Your CL'~R 60~-~C indicated you have pain due to nerve damage/neuropathy in your bacl: and lea.

 Yo<< requested the following:
 To see a specialist; receive all the necessary chronos, and pain medication foc your nerve damage.


 PRIOR APPEAL HISTORY:
 lilfor~~al Level:
 The informal level was bypassed and elevated to the first level of review.
 First Level:
 At the first level, submitted on August 22, 2010, you stated tl~e same issues and co~lcerns as noted above.

 The First Level Response(FLR)stated your appeal was partially granted. You eve,e seen b~~ a certified oc-thotics
 specialist and custom fitted for an ankle-foot-orthotics brace(AFO) which you received on Nlay 11, ?009. On
 September 14, 2010, you were issued canvas upper shoes which have a wide toe and extra padding oY the soles.
 You have a current chrono for bottom bunk, tower tier cell, the AFO brace, and the canvas shoes. The chrono
 issues addresses your medical condition. You were seen by a physical therapist and told to use the home exercise
 program (HEP)to help your knee and back.

 Second Level:
 At the second level, submitted on October 7, 2010, you stated your pain medication is not adequate and you are
 not getting the proper medical care you deserve.



                                                                                                         ~~

                                  P.O. Box1038 • Sacramento. CA 9812-4038
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 19 of 53 Page ID #:471
 L.TURNER, G05794
 LAC KC 10002939
 Page 2 of2

 The Second Level Response(SLR)stated your appeal vas partially granted. Your appeal issues ~~ere revie~~ed
 and responded to at the FLR. The appeal issues were reviewed and responded to appropriately at the FLR. The
 SLR agrees with the previous findings.
 BaSIS FOR DIRECTOR'S LEVEL DECISION:
 At the Director's Level of Review (DLR), s~~brnitted on November 10, 2010, you stated the shoes yo~~ were given
 made your left foot slip out and your left knee went out as well. You state you have dramatic nerve damage and a
 history of back pain. You also state you could not ~o to physical therapy because your shoes were not safe.
 A review of the appeal file vas performed and revealed the following:

 You were evaluated regarding your medical concerns and you received treatment as deemed medically nececsaiy
 by your provider, based on examinations and evaluation, in accordance with policy and procedures. Your request
 to be seen by a specialist was not medically indicated.

 Inmates may not demand particular medication, diagnostic, or course of treatment. The California Code of
 Regulations (CCR), Title 15, Section 3354, Health Care Responsibilities and limitations, (a) Atrthorized Staff,
 states "Only facility-employed health care staff, contractors paid to perform health services for the facility, or
 persons employed as health care consultants shall be permitted within the scope of their licensure, to diagnose
 illness, or prescribe medication and health care treatment for inmates. No other personnel or inmate may do so."

 After review, there is no compelling evidence that warrants intervention at the Director's Level of Review as
 your medical condition has been evaluated by licensed clinical staff and you are receiving treatment deemed
 medically necessary.
 RULES AND REGULATIONS:
 The rules governinD these issues are: California Code of Regulations, Title 15; Inmate Medical Services Program
 Policies and Procedures (?006); and the Department Operations Manual.

 ORDER:
 I~To changes or modifications are required by the instih~tion.

 This decision exhausts your available administrative remedy within the CDCR.




 N. Warren, Chief. Acting)
 California Prison ~ealdi Care Services
 Office of Third Level Appeals-Health Care

 cc: Chief Executive Officer, LAC
     Health Care Appeals Coordinator, LAC


 SL




                                  P.O. Box 4038 • Sacramento, CA 95812-408
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 20 of 53 Page ID #:472
          Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 21 of 53 Page ID #:473
     STATL OF CnLI~OriNIA                                                     ~. .                                                         DEPARTMENT OF CORRECTIONS
                P ~ .~

      T•~            ;'
                      T              COMPRE                      SIVE ACCOMMODATIO~HRONO
        INSTRUCTIONS: A physician shall complete this form if an inmate requires an accommodation due to a medical
        condition. Circle P if t~e accommodation is to be permanent, or T if the accommodation is to be temporary, if the
        accommodation is temporary, write the date the accommodation expires on the line. Anew form shall be generated
        when a change to an accommodation is required or upon renewal ofa temporary accommodation. Any new form generated
        sha{I include previous accommodations, if they still apply. Chronos indicating permanent accommodations shall be
        reviewed annually. This form shall be honored as a permanent chrono at aEl institutions.



     None                                                                        4. Bottom Bunk'                                             ~/ T                 '
          1~. B~ar-r—
                    ie-r~-Free-/-W
                                 --h~eelchair Acces P / T                        5. Single Cell See 128-C date:                        )          P/T
          Z~6round-Floor..Cell                    ~~/ T                          6. Permanent OHU / CTC(circle one)                               P/ T
          3. Continuous Powered Generator P / T                                  7. Other                                                         p/ T
                             t
     None                                                                       16. Wheelchair:(type)                                         ~ p /'I'
      8. Limb Prosthesis                               P/ T                     17. Contact Lenses) &Supplies                                     P/ T
      9. Brace                                         P/ T                     18. Hearing Aid                                                   P/ T                f
                                                                                                                                                                   wy
     10. Crutches                                      P/T                      19. Special Garment:
     1 1. Cane:(tYPe)                                  P/T                                       (speci4y)                                        P/ T
     1 2. Walker                                       P/T                      20. Rx. Glasses:                                                   p/ T
     13. Druess~~/Catheter/Colostomy                    ~T                      21. Cotton Redding                                                 p / `['
     l~ Shoe: speci'fy~~a''`~ ~~ r'~~ ( P / T                                   22..,Extra Mattress                                               P/T
     1 S. Dialysis Peritoneal       ~~e                P/T                      23. Other/               ~ ~8                                  C....P,/ T
            1

       one                                                                      26. Therapeutic Diet: (specify)                                   P/ T
       . Attendant to assist with meal access P / T
!,      and other movement inside the institution.                              Z7, Communication Assistance                                       p/ T
     Attendant will not feed or lift the inmate/patient                         28, Transport Vehicle with Lift                                    P/T
     or perform elements of personal hygiene.
                                                                                29. Short Beard                                                    P/T
     25, Wheelchair Accessible Table                   P~T                      30. Other                                                          P/T

     Based on the above, are there any physical limitations to job assignments?                        ❑ Yes
     [f yes, specify:


     INSTITUTION                                                  COMPLETED 8Y PRRJT NAME)                                                 TITLEQ
                                                                                 ~. ~~~~/N~                  WP2 r                               /~ E
     SfGNATU                T                                     DATE                           CDC NUMBER,NAME(LAST,FIRST, MI)AND DATE OF BFRTH
                 (~' ~,~                          -
     HC GMO SI           ATURf, ~ ~/~ ~(/V C(""—'~"-              DATE                                             ! tit.'►' jam/"              ~ P~ /`~'~

     -~Zuo, ~Zi~Y, ~'tl~ -~t~ , ~tU~'l1 ~f ~lra
     APPR(~V ~ (~ t t n~~fijjapprgrcd)                y~ A y/~
                                     <<~ .r-~~----- t ~' ~ IJ
                                                                                                                                             y
                                                                                                                                                                  ,~
     DENIED (list the number o(iiems drnicd)
                                                                                                                               J ~/Z2 •
       011'IPR~HENSIVE ACCOMMODATION                               (~
                   CHRONO                                        ~~ ~l'
                                                                         Di     ti n:
      CDC 7410 (08104)                                ~                  Original -Unit Health Rewrd    Canary -Central File   Pink - Concctional Counselor   Gold -Inmate
    Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 22 of 53 Page ID #:474
STATE OF CALIFOIWIA                                                                                                                          DEPARTMENT OF CORRECTIONS


                                        COMPRF~~NSIVE ACCOMMODATIO                                                         HRONO
  INSTRUCTIONS: A physician shall complete this form if an inmate requires an accommodation due to a medical
   ondition. Circle P if the accommodation is to be permanent, or T if the accommodation is to be temporary. If the
  accommodation is temporary, write the date the accommodation expires on the line. ~ A new form shall be generated
  when a change to an accommodation is required or upon renewal ofa temporary accommodation. Any new form generated
  shall include previous accommodations, if they still apply. Chronos indicating permanent accommodations shall be
  reviewed annually. This form shall be honored as a permanent chrono at all institutions.




     1. B                        heelchair Access P / T                           5. Single Cell(See 128-C date:                          )          P/T
     2. Ground Floo                 l                   ~T                        6. Permanent OHU / CTC(circle one)                                 P/ T
     3. Continuous Powered Generator P / T                                        7. Other                                                           P/T
                            t                           '

None                                                                             16. Wheelchair:(type}                                               P/ T
  8. Limb Prosthesis                                        P/ T                 17. Contact Lenses)&Supplies                                         P/ T
  9. Brace                                                  P/ T                 18. Hearing Aid                                                      P~T
 10. Crutches                                               P/ T                 19. Special Garment:
 11. Cane:(type)                                            P/ T                              (specify)                                               P/T

  12. Walker                                                P/ T                 20. Rx. Glasses:                                                     P /T
 13. Dressing/Catheter/Colostomy                            P ~.I.                21. Cotton Bedding                                                  P/T
      Supplies
 14. Shoe:(specify)                                         P/ T                  22. Extra Mattre                                       ~            P/T
  '. Dialysis Peritoneal                                    P/T                   23.     th               l '~'/      ~D 1`h~~T



 None                                                                             26. Therapeutic Diet: (specify)                                     P/ T
 24. Attendant to assist with meal access P / T
    and other movement inside the institution.                                    27. Communication Assistance                                        P/T
 Attendant will not feed or lift the inmate/patient                               28. Transport Vehicle with Li[t                                     P/T
 or perform elements of personal hygiene.                                                                                                             P /T
                                                                                  29. Short Beard
 25. Wheelchair Accessible Table                            P/ T _                30. Other                                                            P/ T


 Based on the above, are there any physical limitations to job assignments?                                ❑Yes
  If yes, specify:

  QJSTfTU'I70N                                                       COMP E D BY(PKWY NAME)                                                    TITLE ~~~
                        ~~ ~                                            ~~ ~ c
  SIGNATURE                       ~                                  DATE   p, ~ ~                   CDC NUMBER,NAIL(LAST,FIRST, MI)AND DATE OF BIRTH
                                                                            O      l~

                                                                     DATE

                                                                      ~l9/a                                       lJ~ ~ ~~ ~              L~~           lam^ ZJ
                     fist the manber of item~s/ appro



                                                                        ~7~~e1
  COMPREHENSIVE ACCOMMODATION
                                                                                                                                       ~ ~ , ~ ~ ~~
            CHRONO
                                                                            Distribution:
   CDC 741 ~~8/~4~                                                          Original -Unit Hcalth Record     Canary - CenUal File   Pink -Correctional Counselor   Gold -inmate

                                                                                                                         Conli~lenCial Saved 201 -U4-08T15:~0:1 ~7_
    Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 23 of 53 Page ID #:475
STATE OF CALffORN1A                                                                                                                    nEratt~rrr of cox~cr►oxs
                                  CO                                ACCOMMODATIG~ CHRONO
  INSTRUCTIONS: A physician ~sll complete this form if an inmate requires_aw: accommodation due to a medical
  ;ondition. Circle P if the accommodation is to be permanent, or T if the accommodation is to be temporary. If the
  accommodation is temporary, write the date the accommodation expires on the line. Anew form shall be generated
   when a change to an accommodation is required or upon renewal of a temporary accommodation. Any new form generated
   shall include previous accommodations, if they still apply. Chronos indicating permanent accommodations shall be
  reviewed annually. This form shall be honored as a permanent chrono at all institutions.



None                                                                                                                                         P/
    1. Barrier Free/Wheelchair Rccess P / T                                                                                        u
                                                                                                                                             P /T
       Ground Floor Cell            ~/ T                                   6. Permanent OHU / CTC (circle one)                               P /T
      . Continuous Powered Generator P / T                                 7. Other                                                          P /T


None                                                                     16. Wheelchair: (type)                                               p /'r
 8. Limb Prosthesis                                  P/ T                17. Contact Lenses) &Supplies                                        P/T
  9. Brace                                           P/ T                18. Hearing Aid                                                      P/T
10. Crutches                                         P/T                 19. Special Garment:
 11. Cane: (type)                                    P/ T                             (specify)                                               P/T
12. Walker                                           P/ T                 20. Rx. Glasses:                                                    P/T
13. Dressing/Catheter/Colostomy                      PST                  21. Cotton Bedding
    Supplies                                                                                                                                  P/ T
14. Shoe: (specify)                                  P/ T                 22. Extra Mattress                                         P/ T
                                                                                                                          ,.:
  ". Dialysis Peritoneal                             P/T                  23. ther LP~f" ~C7p-~-                       /~'YC~ b ✓u~F'~T


 None                                                                     26. Therapeutic Diet: (specify)                                     P/ T
f. Attendant to assist with meal access P / T
  and other movement inside the institution.                              27. Communication Assistance                                  ~       P/ T
 Attendant wi11 not feed or lift the inmate/patient                       28. Transport Vehicle with Lift                                       P/ T
 or perform elements of personal hygiene.
                                                                          29. Short Beard                                                       P/ T
 25. Wheeichair Accessible Table                     P/T                  30. Other                                                             P/ T


 Based on the above, are there any physical limitations to job assignments?                        ❑ Yes          ~No
 If yes, specify:

 iNSTIT[JTION            ~~ P~ L/~C                         COMPLETED BY(PRINT NAME)                                                    TITLE
                                                                                      ►~               .r                                    M
 SIGNATURE n /J .`~   /    ~/~                              DAu /~ ~ ~ ~                    CDC NUMBER, NAME (LAST, FIRST, MI) AND DATE OF BIRTH
          ~U~ it   ~,~f~:~
             d v •
                 •7           ~                                 1

             SIGNATURE                                      DA~ ~L~ l~
                                                                                                  ~ 1/~ r~~ ~ '1~
                                                                                                                )           L~ ~ ~l z.

                      the number ofitems approved)




 COMPREHENSIVE ACCOMMODATION                                                                        o~ ~~~ ~~ DZ~ ~L
           CHRONO
                                                                    Distribution:
  CDC 7410(08/04)                                                   Original -Unit Health Raord      Canary -Central File   Pink • Cocrecdonal Counular   Gold - Gunate

                                                                                                                 C;onFidential Sav°ed ?014-0~-08T15:30:13Z
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 24 of 53 Page ID #:476
             Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 25 of 53 Page ID #:477


   DATE           TIME


         ~o             s
                                                                            - ~~r     ~o,,,~u~,~aeaz o~s ~
          ~                               I{'1(ES', answer Duesdons #Z 8 #3 below.
     P                                                                                     ❑Read document to PI
                                          ❑ Use of Text Magnifier                                       n    e Into
                                                         (sae  attached notes)              D  Lip Reading
        '            (j                   ❑Written Noles                                    ❑Simple English
                     0                    ❑ Pt wes wean his hea' aid s)
                                                                                                  -- -              —
                                          ❑ Other                                                  e communication
                                                                     any assista nce for  effectiv
     Z.                                   ❑ Pt dated tw did not need
                                                                        MINE COMMU       NICATION lNA$_~FF,~C7NE
- - -- - - - - - - - - -- - -- - -        ~MELFiOD ~►SEQ TD DETER      __ -         _e                      __ _    --                        ___
                                                                                          ained                                                      --
                                                                                       the informa   ilon p
                                          O Pt asked aPP~iate quesfions regarding
                                                                                         es to questions asked
                                          Q Pt provided apprpp~iete substantive respons
                                                     ~       .                     ..         -—




                                                                                        7f                ~-             C-l~'VB'V12`G.       ~L.~-~---       ~1

                                                                    ~C-1~                                                a                CLi ~
                                         N                           ~              ~ . ~ S w.~Q~.t                      .
                                                -- f1A O            3 in N fl,D                 ~           ~' —                     PC--2 ~~.,
                                            ~~c ~g                                                 ~~~ ~                                  ~IYC

                                                                                                                                ~ ~~ C..~..           1~=u (~
                                                ~     ~                        fl



                                        -- ►~rn ~                                                              _ Pry
                                        _"          x ~ C ~ 3 Po X                               n.~. t                       +~ --~-n              c~ .

 [n5TI1'uT1oN                   xoUsivG [;NIT              StaOs ~~ge~eSC~                          CDC I~tiMBER, hAVIE (LAST, FIRST, MI) AND DATA OF BIRTH


                                                                                                       ~~~)~"1 ~.-a~ 20
                                                                                                                     G~s~ ~
          INTERDISCIPLINARY PROGRESS NOTES
                                                                                                                                     l    ~~


  CDC 7230 (Rev 04/03)
  STATE OF CALIFORNIA                                               DEPART4IENT OF CORRECTIONS
                               l~ .1 .
          Case 2:15-cv-00109-JVS-AGR
                                   '   ~-, Document
                                           _,]-~.,~J ~- j85
                                                          ~~-fi,-,--~  r~. ~~ C ~~ ~ Page ~26~~_of~ 53 Page ID~-.#:478
                                                               Filed~~09/01/16                                    rll.~
 -STATE OF-GALIFORNIA        -     —              -- -    _--                                                     ;;SENT OF CORRECTIONS AND REHABILITATION - - -
  HEALTH CARE TRANSFER INFORM,                           ....
  C~CR 73~~ (Rev. os/o7)                                                                         _; ~I~~DS IMMEDIATE ATTENTION
                                            ❑ Medical and Return                ❑Psychiatric and Re~urn ❑Return from Medical and Return
                                       INMATE NAi:c                                                                      CDC NUMBER
  SENDING INSTITUTION
                                                                     j ~i lam'i~ E~ ~ l~ i,rn'=-~-v                               ~ ~ D `~~ ~
 Alle --  ie~: "'~~__     ~'-~ -"~`~                                                                   No kn "wn alter ies                `                 f
   -_ _      -                        —--- -`---                                    ---~_____— g ----                       ----                   -- .,'
                              SIGldIFl~ANT MFD!~AL!DENTAL "! MENTAL HEALTH PRQ~LEMS / ~pI~MENTS `'_...
 ce.9. 5~;~;d~na pts, dental L~ SPe~~a~ d~a~, Pe~d~~9 0~~~~omP~e~e ~o~s~~~s, ~abo~a~ory ~es~s. x-~ays>   Chronic Care Program (List type)   Date of Last Visit
        CL                 ~
        '  l    ~       U  ~ ~
  Date of Last Physical:       ~ ~ ~lU e (~i ~j7~( c~u.(/~    Keyhea ❑         Valley Fever Elevated Risk Criteria ❑
  Medical Prosthetic Device(s)?            ' Yes       ~ No     Type:
  Medical Hold Initiated?, ', Yes ~; No       Reason:                             ~ ~ . a~~ ~~nr         ~~ ~ (,(~~~C-C;~
  Medical Chronos reviewed?          '!Yes ❑ No I Type of Medical    Chrono? I~(~        ~~~ B A ert Code: -2Z
  Mental Health Levei of Care: _~,.None ~_CCCMS                    EOP ;
                                                                       _, MHCB    _ _ _'`_Suicide History_ ~ Yes _~ No
  Dental Priority Classification (DPC): 1 Ci      2 ~~~    3 ~~~ 4 !~'~ 5
  Dental Prosthesis(s)? Full Denture        Upper ❑ Lower
                                                        '        I
                           Partial Denture Upper ~ Lower
  - ---
                                              MEDICATIONS PRESCRIBED
  MariicatinnAr~minictration Recorded Attached: '~~'es ~ Nr,                              Pharmacy Profile Attached:    ;~j,Yes    ; No
      Name of Medication (including TB)      Dose      Route                             Frequency   Start Date    Stop Date    Heat  Risk Med



 ~          P 9     -- ---- -- —J --- -                                                                  DP_                                 . ty-
  DIAGNOSTIC.TESTS PERFORMED                ;
                                            .                                         Disabili   S_ e_e_ CDC 1845        Developmental Disabili^
   Is inmate re Want?;Yes ~ o       ~ EDC f                                            DPW                                 DD1 ~ ~            DD2
  Tuberculosis:                                                                                        DPM      ❑
                      mm Date Read: `~                                                 DPV ~~                              DD1A i~             D3 ~~
  PPD Test      E'
                                                                                       DPI ~           DPO
  Chest X-ray
  ~i Normal             ~I Abnormal      Date Read:                                     ~
  ~viiSC ic~iS(Check eacY box that appNes to inmates r:~iJ VUKL:
                        ❑ Reactive ~~ Non-reactive                                Treated? iJ Yes (_ No         Date treated:
  Hepatitis:
                                                   Type:                          Treated? J Yes ~~ No          Date treated:                    -
                          Positive    Negative
  Other screening test results &date:                           ~~                         I Other Laboratory:
                                                                                             Data:


  Pending Medical/Mental Health Appointme                                      Date         Attachments? '~~ Yes =i No
   C'Chronic Care                                                          _                Special Transport Instructions.              __
   __',Specialty
 - --                    --                                                           --           -    - -         ~'~~~
      Telemedicine                                                                                     ~ ~~ ~~.rte System Inmate Profile
      Other                                                                                 *Attach Mental Health Tracking

    COMPLETED BY SENDING INSTITUTION                  R N SIGNATURE /TITLE /DATE /TIME        CDC NUMBER, NAME (LAST, FIRST, MI) AND DATE OF BIR7 H
 '. (PrinUStamp Name)



                                                 ,~~~~~~~ f~~~~
REVIEWED BY RECEIVING INSTITUTION                     SI NATURE /TITLE /DATE /TIME
~ !M~PT (Pr~aVStamp Name)

          ~-~-~                                  ~~- ~ ~--~
                                                  ~~    ~~~     ~~~
                                             ~            RECEIVING INSTITUTION
 7RIGINAL - RECEIVING INSTITUTION
 _4NARY - SENDING INSTITUTION                I             ~ ~l ~~
        Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 27 of 53 Page ID #:479
                                                                                            --           ❑continuation progress note tt~.
                             (~~'-`- T ~ CARE FOLLOW-U  __ VISI
                                                      _ P                                                    ~ ~3~ _     _ ~`     .~      _.
                                                                                             -_
  ,~ chronic diseases: (1) ~,,. ~      ~;        _(2)

                                             V
                                                                             ~~ ~ I~""lrL--
o Pharmacy profile attached (or listcurrent medications here)
                                                                                                                               RN/MTA Signature

                                                                          Asthma:
Complaints/Problems:
                                                  OB: Yes ❑ No ❑          #attacks since last visit:
C V / Hypertension: Chest Pain: Yes ❑ No Q                                #short acting beta agonist canisters in last mon
Diabetes Mellitus:# of hypoglycemic reactions si ce     isit:
                                                                          #visits to TfA for asthma since last visit:
Seizure Disorder: #seizu res since last visit:                            # times awakening with asthma symptoms pe week:

All CCP Conditions: other new symptoms: Yes ❑              No ~ (if YES ,please explain)
                                                               P ~'.'~'"h am ~v r' ~i~;-~-' a-~^                  ~(-( r
Additional H{~6tpry    ~" Y ~ v`'~s~'~,., v`



                                                                                            -              ----
                                                      no            diet: yes~ no ❑                 exercise: yes.] no ❑
CCP compliance with medications: y~s~
If no, describe:
EXAM: HEENT:     ~ ~~L ~L(,.~--                                      Extremities/Pulses/Skin Changes: ~I~~ ~^='~
                                                                     Neuro:     ~S        -r- _. ~~    ~ ~"~ `~ ~~~~
Neck:
Lungs:             ~+ ~C`T /~}—         ~ ~,J ~2                     Rectal/Other(specify): ,~1,~ ~~~

Heart:                ~ ~`/~           S S                                       Comments on BP, G cose Monitoring, Lab Val es

                          -,            ~ ~,                                          ~ ~              c~ 0~ ,_ q ~ ~(8 —1 L~-              ~ o
Abdomen:
                                                                                       De ree of Control                        Clinical Trend
ASSESSMENT:
                                                                                     G    F      P     NA                  I      S      W     NA




                                                                                     ❑          ❑      ❑       ❑           ❑      ❑    ❑      ❑
3.                                                             lr

              ~ ~;             ~                           ~          ~                 Primary Care Flow Sheet Reviewed: ❑
PLAN:
                                   ~3-~+-mo"`"'t o    ~ ~- ~ (~~~i                   --- ~                   "~ i~'e,e^..~~-J
 Medicati~
                                   ~ 1~          (~-~S — C3    ~~ (~1i~               C,~t,             ~r~~~-~~ ~
 Lab/Diagnostics: ~~               [
                                                           ~ ~
                                                             ~  c
                                                               S.                                              C~
 Other:         ,~1                              - ~-~
                          P:       -     X we     month    ❑Glucose:              X day/week /month ❑Other:
 Monitorin
                                                                                          Management ❑Other:
 Education Provided:          "trition []'Exercise ~3moking ~~st Results ,~'I~/ledication
 Referral:      ❑Specialist (specify):                         ❑Other Chronic Care Program (specify):

                ❑ High Priority
                                                               Other:       ❑Discharge from CCP (specify disease):
 # days to next visit: ❑ 30                  ~ 90 ❑180         r

                                            Staff Physician                           ~,~                  Date                   ~ ~~
  Primary Care Provider Signature                                             ~;
                                        CSP-cos Angeles C                   CDC NUM ER, NAME (LAST, FIRST, MI), INSTITUTION
                                                                                                                            AND DATE OF BIRTH
       OUTPATIENT INTERDISCIPLINARY PROGRESS NOTES


                   ~ ~~ ~~~~                                                  ~                      ~    ~
                                                                                                        5
                      ~
                                   ~~~                                                                y   _ ~, ~-
                                                                                                          ~ ~
                                                                                                    DEPARTMEIYi'OF CORRECTIONS AHD REHABILITATION
     STATE OF CALIFORNIA
     C~CR 7419(03/07)
         Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 28 of 53 Page ID #:480
                                                                  ~ v
                                          )NIC CARE FOLLO '- P  ,
                                                              n~V                       '1        ❑continuation progress note attached
                                          ~I `f        (2) /~ ~`                              "~ ~~,; (3)
  List chronic diseases: (1)
  HISTORY:
                                                                                                          ✓~             __ _
                                             t medications here)
 o Pharmacy profile attached (or list curren                                                                           FZh,Y'st~TA Signature

                                                                              Asthma:
 l:omplaints/Problems:                                                        #attacks since last visit:
                                                     OB: Yes ❑ No
(~V /Hypertension: Chest Pain: Yes ❑ N~                                       #short acting beta agonist canisters in last month:
                                                       last visit:
  Diabetes Mellitus: # of hypoglycemic reactions since                        #visits to TTA for asthma since last visit:
 Seizure Disorder: #seizures since last visit:                                # times awakening with asthma symptoms per week:
                                                        No ❑ (if YES ,please explai
 All CCP Conditions: other new symptoms: Yes ❑                                                                                                     ii



                                                                                                                                   r- ~~C/~/ ~c""~9


                                         ❑                     diet: yeses— no ❑      exercise: y~ no ❑                                                 a
 CCP compliance with m dications: ye~~no
                                   ~r~                                 ~
!f no, describe: ~'~~✓                                                                              ~
                         2       ~ ~                          ~ Extremiti s/P lses/Skin Chan es: f
 EXAM: HEENT:                                                                                                                            r-- ~~~, i
                                                                    N uro;
 Neck: -~,,~ ~h~ f~~ ~
                                                       fy):
 Lungs: ~.~~ ~~p~xr~,~,~,,~ ~~~d ~~~?2ec~/Other (speci
             ,8              ~                  Comments on BP, Glucose Monitoring, Lab Values
 Heart; ~
                                                 J37         ~      ~~ ~                  ~,~~ .
 Abdomen ~~     ~~  ~          ~
                                                    De ree of Control          Clinical Trend
 ASSESSMENT:                                                                      S     W      NA
                                                  G      F    P     NA     I
                                                                                              ❑       ❑       ❑      ❑             ❑       ❑
 1.




                V ~~,~ ~              ~ ~~ ~      ~                              ~Primary Care Flow Sheet Reviewed: ❑
                                                                               ~wf
 PLAN:         ~~
                                                                                   Cc:1•~3~    ~a?~1~ ,                  +                  %~
  Medicatiof~: j  ~                                          U            ~
  Lab/Diagnostics: /~,~ _         f~-~ ,
 Other:
                                     X week month        ❑Glucose:                   X daylN~eek /month ❑Other:
  Monitoring: ❑ BP:
                             ration [r]'Exercise~Smoking                      est Resul s ❑Medication Management ❑Other:
 Educatior, Provided:
                                                                                ❑Other Chronic Care Program (specify):
 Referral: ❑Specialist (specify):
             ❑ High Priority
                                  60 ❑                her:                     ❑Discharge from CCP (specify isease):
 # days to next visit: ❑ 30
                                                                                                          Date               ti^
  Primary Care Provider S'gnature                     --~
                                                                                                                               AND DATE OF BIRTH
                                                                               CDC NUMBER, NAME (LAST, FIRST, MI), INSTITUTION
        OUTPATIENT INTERDISCIPLINARY P                        N
                                                                   r -~                     -l ~f ~ i
                                               V~f. Q~.UY.Ati~v31,
                                                            ASSISTANI~                     J
                                             PHYS►~I~~~                            C/1   ~
                                                      dU~f~l~--                       _ __
CFiR~^~{~ ~~p~P~ATTEE FOR: l`w'''l~~ `
~~Q~t~~ ~a r ~~YS~\i~l~~              ~ Y Wv
                                                       'r~
DAT               ~     ~                                                                           '_1
                                                                                    ~~ ~-!
RE SOt~ t~`~I~D                       ~~f'M.25w ~,                                                DEPARTMEN"I OF CORRECTIONS AND KEHABIL[TAT[ON
      STATE OF CALIFORNIA
      CDCR 7419 (03/07)
    Case~2:15-cv-00109-JVS-AGR
i~~~~lt~i ~r .v~ rnn ~ i~r                  Document  85 Filed 09/01/16 Page 29 of 53 Page ID #:481
                                                 rn~u!.~n~ n~~unu~



                                       ~i
                                                                         ~' _

                                                                                ~        ~     C:i~(~R 1 ?R-('
  California St2te Pri.Sr,n — T,.a('
   NAA'IE; TUR1tiTER; ~,~fonzo                CnCR#: G0579~           ~ DATE Off' CH120t~10: 07/08/2011
   DATE OF BIRTH: 09/l6/1972                t k~OUSXNG: Al 138E       ~ k~AROLE DATE;

                        COMPR!~N~NSZVE ACCOMMODATION CHRONO; 7410

                        A: HQ[JSING: Approved. aottom bunk, permanent.
                        B. MEDICAL EQUI~'M~Nf/SUPrLIES:
                                     Approved, Brace, AFO of the left lower extremity and paiien; has fne
                                     brad; permanent.
                              '.     ~pp:ot~e~, Q~-!~tl~p~di~ shaea, aro~vn, Velcro closure, permanent.
                        C: OTHER: None:
                        D; PHYSYCAL LT,MiTAT,IONS TO JO~~ASSIGNNLNTS:
                                      Approved. Yes. Sedentary jobs.

                        A CUC 7 10 nay been completed and forwarded tQ the appropriate parties,


  Carina Chin, MD

  CC/cn D: 07/08/2011 03:25:00 pm T. 07/1 1/20I 1,04;u0:59 pm Jab #; 212378:
  Orig: C-File  cc,:~-iealth Record: d Housing Ofricer ❑ Tnmate ~ssi~nments, Q ~un.ate ~ ❑ CCI
  ~ C&PR ❑ALL           ❑Facility Captain    ❑ether




                                                                                Printed 2012,10,09 09'16:50 -07'00'
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 30 of 53 Page ID #:482




                                                 ~~
   Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 31 of 53 Page ID #:483




    ~~~zoQ:~~~~~~~


     p. cv . ~oX ~~                                     ,
    R~~~ cA~. ~i5~v~ ~
 (T~ailur~ tc~ notii~~ tii~~ Cuuri of vuur cli :ui!~~• of sitldr~ss m,n result iu dis~~~~~:s.~i u~~riii~: aciiui;. l




                                                                U~\~ i F~ S i A'~'~5 ~"T Sit~~T ~~.%(~;1
                                                                          r    ~~     r,,.~
                                                                ~~`i1tom.`_" ~~~~~'1:1:_ ~ l`~F C,i~~,rN'~ ~`?+.' T
                                                                t                                                   ~_




       ~. LAc ~Ot`12C~ iZ .T~,l~Ncc~


                                                                                                                   - ~-
                                             ~~'S.                                                ~    C~~JL ~~~i~'.



_1 i q~1D, ~L~z ,, 1~1
(                                                      ~oFc.hrc~z►~,cAP~cir~'~
 j gull \xm~ ce Dc~en~anii


                                                                                                                               DEM~NJ Fo~T~~-
                                                                                                                          C~=, IT r~ ~=~; -arc ~~T,r~~_'=I~~'
                                                                                                                                LJi h :J~IVT~~.

                                /'

1~1 WaR~~N, ~ , P~1 A ~OM~R ~C~Fc• C~w~crr~                                                                 ~ ~~:~ «;~i I ~.o:~:al~_~t
                                     k~~"I~ll.Clu11I!S).                                         ~          ❑ t1I-~~ ~:I11~Ilu~~ ~•O'_l;_,;1?_li
                                                                                                '             r _      n              _'
~Ch~~;. ~ u~re ar_ addir.onai Dei,nd::n;; znc znac;:             .-.-. !inin_ !c-n~.
                                                             p`- ~                                          ❑ J~COT_~ _~:ili~liC~'~U ~_,Gi11ii~8~11~




                                                                                         - i `--. T -       ~'T
                                                                                A

       1 1~J ~,c~i.0 ~ 17 ~~r .I ~L~.i .'.J ~;. ~~ll nl; _   :,;~ L~u.. ;l!~Cl~~~i ~)~L~~~JLiii.il~   I~~


               .X
               ~ J 2~ U•S.0 ~ ~ 3g3Ca); AZ d1.S.c, ~ i $83




                                                                                                                                                       ~~, ~ ~' it ~~. `_ ~~
     Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 32 of 53 Page ID #:484




                                                             B. DEFEitiD.=~~i

                                                                                            . The fi.-st Dei~nciai~t is employed as:
       ~tianle of first Defendant: ~. ~.QtiZ
                                                                                at C L~1 Teo~r~~- ~~`z(~P~SAr~: _~C~r~~NT~ .
                          O~T~C~~                                                                              (I~istitlltioiij
                             (Positiol~ and Ti~le1

                                                                                      . Tile second Def~nc~ani is employed as:
2.     I~Tame of second Defendant: v.M. RUC                                                                        t.1S~tc~  ~.
                        1~OCZ"O~                                                ~t CAils^'Fo2a.1~S~~
                                                                                                             (Instii.utioil)
                          (Position a~ld Titlej
                                                                                         .The third Defe~;.dant is employed as:
       Name of i.i~iird Defendant:    t~IGU`~~
                                                                                at C~2~h5'TA`~P         i ~~ttMgttro
                    _ ?+ S`~C}~ft~~                                                                        (Institution)
                            (Position and Title)

                                         rF ►M A~ CUN~~e~            . The fourth Defendant is employed as:
       Naive of fourth Defendant; it ~I—                                                  +J SAC.~ngrrro .
                                                         at CP~cL~ca       ST?~cT~
                         W Pr2DP.t~I                                                  (Iristit~ttion)
                           (Position acid Title)
                                                                                                  ".E'
                                                                          ~.~:s~~at~~■■~~`te~~~~'~^                    -- ~~~'' - rte•
                    -               ~r~~r~..i4Za~~~■t~~
       ~                    ~.~-


                                                       C. PREVIOUS LAiYi'SUITS

                                                         a                  prisoner?                ~ Yes                 ❑ No
       Have you filed any other lawsuits u~lule you were
                                                    Describe the pre 'ous lativsuits:
2.     If yes; ho~~ many lawsuits have you filed? ~.

       a. First prior lawsuit:
                               t~~-~ MZ •i   (;i2N~2          v.    P~ • lnlO~e~~ S
            1. Parties: ~p
                                                                  C/~~ZZ
            2. Court and case number: C~/ 12-5L~~ M Mist                                       (2L M2.NT~ _
                                                        it appealed? Is it still p~ndin~?) ~~~i
            3. PPs~lt: (V~Ias the case disnussed? V,~as


       U. Second pi~or lawsuit:
                                                                         ~AfafL)
             2.     Court aid case i~Lu~lbei~: CV- O~'15A - ~V5-
                                                                           led? Is it still pendinV?) 1~~1~l~ll~N G O~
             ~.     Result: (~%~Tas tlae case di sn~.issed? V~%as it appea
                                                                        1 TO ~t Sl`''~5a ,`~f I~RGun~fi~z8'~``AMz~~
                  C~~~"~r~ ;'b i7~U~~i~~S Mo~~

           i bird p:7~~~r la~~~suit.                                                            ~ ~ _C~T~~      _ T=lk i_ - ~.- --
                                                                            ~~. _ N~
              1 . ?'~:~ ties: _.]„~~°`~FON~zv_ R,TI~,t~                                                                   ----
                                                                                         ~. --
              ~. ~~'orrl and rase nt~n~ber: eV-1~~_l.Q~-1H_~_I'1_ ~L~                                                            _
                                                                              al~u':' i.s it still ~~enuin<r")-~N_~ APP_
                                                                                                                       F,
              3    f;esuli: (~~, is t]~c case disi~~is;,~~~`' V,'as it a.~~p~
                                                                           iZ~ _l'~_~► ~5 .                               -- --
              GS  ZT~c.1-25 ~~FF,N ~~-raT~ MC~az~ti1
                                                                                                   fcinal la»~suil on ~i sep:n~ace pa~~c,
                                                      yu~>tiuii~ lis~cd t~bove Ior ::acli .icicliL
I(~nu fled more than three I;>>i~:;uits. .~ns~rer the



                                                                   Z
       Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 33 of 53 Page ID #:485




                                                                                        CCiU~T O
       1.         State the constitutional a~ other ied~l',:1~                             that ~~'35 \'10~3~Led:
                                                                               C]\~1~ 17«1]i




   2.           fount       Idzniif}~ tl~e issue involved. Checl~: only one. State adclitio~la] i~su::s iii separs~e counts.
                  ❑ Basic necessities                  ❑ [vlail            ❑ Acces~ to the colu-(              ❑ 1~~Iedical care

                    Disciplinai-S~ proceedings         ❑ Paoperl~~         ❑Exercise of reli~ioi~              ❑Retaliation

                    ~;.cessive force Uy an off~cei~                     ❑ Tlu eat to safety ❑Oilier:

                                                                                           Describe ex~~ctly ~~~hai e~ich
  3. S upporiinb F<<cts. Slate ~s b»efl}~ as possible the F~~CTS supporting Count
                                                                                                     1~~ithoui citing le a]
  I)efendani did or did not do that violated yourri~hts. State the facts clearly inyour n«-r 4~~ords
  a.~thoniy of arguments.                         T~1TQCtiD :tCTTt~t~l
                           ~ ~ ~~AwS~r~~~~v~r.~G T~~i~v~~irst~~
 1,~~5,4cTtaN ~~Rc~-~ ~~ Fad
~~U                C'~F T~F£~ CAI~                (~1.trA ~,~?~~ '►~-r~r°,~.r ~~AC~A~I~i G ~p~~MF~ dF' Co~eTS.t~1.
                   ~                                                at~Q~~~ of PL   ~~', AND'~1i~~1~'_ ~       e,~c
                         T~,p ~~-n+~                             ' ~ ~ ~~       , ~tS~) To Pao ~~  M~r~~~~ CAS,
 ~z.~_ C~i'~l t~.1k31.1T                            Al.~f C~ ~ "~1i~4~ l~.D~~t.l ~E'r~ MFt~'YrA~. C i~-~ ~,d~: ~~y v ~o ~.~ ~                                                        ~~
 Q~Fu~f n~~F f3'l~ 'fNi_ ~- S P ~ Pr C'~CM~7JiZ~ ~nl C c)    1.DC~~T i..~Tl+ZT S ~i.1Tel4er,~ t~

 RES"A~I~IT ~`13~~~-ntl.~ F~1.1~ ikl~~~ CA4~'_ ~~~~T~`'r~'-3


                                                             " ChUS~. O~ A~TAN "'                                                                                                      —
  `~ • ~Fgr1pA~7TS                              R tai ~ '~RZ . Q V.M      L ll~ 1J                                                             t~ ' CM~f~. ,4ND
  oR. ~Y~N ~cr~-c~ o~ ~,~ ~n ~ mac- c.~+ ~~,~,~,~~ ~•co~~~.~cE~-m
            -fir"-                ~~~.~ Min.-~~- u~~~ v~l.a~N~ ~~ R~t~;~cn.i_                                                                                                ~~~,.~G
_C.~+~.IF~L_ F~t~lf~ l.lNt.t,3~.11kl. ,it~Si~rM~t..tT UIJDc~~ ~~[~ ~t~~~iDM~'~tic`~F--'~4~
U,h~l1-T~C~ ~TFY~ CJNS~.-TZn"~n,t ,




4.          Tr jur~,~r. estate ho`~~ ~~ou ~~~ere injured b~~ the actions of inactio~zs ~f the Defellc~ai~t(s).




.. .        ~:.~;llllllSl:i'~Il:'\r!, R('[]1C(ii~$.

            ~l.        ~1]~'t~!CTC' ~l]'.1 ~~(ll]J11.11St1~~l-L11~~'7C11'i:;~~IC                         ,CjLll~CS (.~i ~C11.111ll5Ci~l~~JI~C ~1~~~~Cc7.l ~~ J'. ~~1.~~~"~~~ ~I.i \'.:'.,
                                                                                   ~,E~7~1C'.'117Cej)IOC;P



                                                                                               cl]) L OLU.1~            r'                                     ~ ~~^~           CJ r`~~
            L7.        D.~~ ~~ULI ~ U.U17]li rl 1(;C~LiLS~ fC,. ~1~7~111J115~I~~LU`t'„ 1~IlL'i

            C          ~lC~ Vnll ;t~~~=~C;7~ \'011l' f~C~U~Si ff)1 ~'L~ll;f Ctrl ~011'l~              LO lllC 1L1~~17~51 ~~ ;'~~~                              ~~ ~ ~'~         ~J r.~'

                                                                                                  d~~;Ti:7]5~~8.t;\'~ ]-G~_l~'j ~l~ illll' ~~' ~'L'1. ~7i7!.~I~% ~?~j11~t1D ~'~'~7`' "U'
            C~.        Ij ~.'pLl ijJC~ 11'J~ :iLlJilllt ~~T :tl~~~t:,.'~~ ,'-1 l ;C~I.1C.S~. _rOl
                       C~] C~ 1701.




                                                                                           3
    Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 34 of 53 Page ID #:486




                                                                   D. C~I SE 0~ ~.0TiG

                                                             CJL'~T I
                                                                                                                           DM~~—~2~~.
                                          ied ~ra l cis- il z:« h~  ~}ga t «~as ~~i~lated: ~~(~l-~-Tk-~- ~1"1~N
                                   othzr                                                                                        •4NC~-.
1 . State th:. coi~s~itutional or                             t~.z..C7;_~             9~~l~iZi=-~,~'s~T- 1L~LFFE,~
                                     ~    M~    C~    L-
  v~Jl..-I~'S~SN ~F S
                                                                                                              separa~e counts.
                                     inv olv ed.   Che   ck   onl~ ~ one   . State additional issues ul
                               issue
2. Count I. Identify the                                                     ❑Access to the court
                                                                                                                  ~1 ivledical care
                                                   ~Za il
      ❑ Basic necessities                                                                                         ❑ Reu~1~~+ion
                                               ❑   Pro  per  ty              ❑Exercise ofreli~io~1
      ❑ Disciplinary pr~:,~.~;edin~s                                             her:
                                          r ❑ Tlu-eat to safe~~ ❑Ot
      ❑ Excessive force 't~~~ an office
                                                                                                            Desci~be e~.act ~. ~,rizat each
                                          efl y as  pos sib  ly  the  FA   CTS supporting Count I.
                                 e as bri                                                                                           ~ citing legal
 3. Supportir~~ Facts. Mat                             ri gl~i s. Sta  te  the fac ts cle an} ~ il~ your o1vi~ words ti~~~ ~ .; ~ou
                                that ~~i~lated ~~cur
 ~efentiant did or dia nut do
 authorit~r or arguments.                                                                                                              ~_~_~
             `)~~                    ~r
 1 i f Y~N~~

                                                                                                                     ~'l       _     ♦       •    ~T
                                                                  ~       a        ~ ~    ~              \ R.    ~
                          ~          ►I ~_   f      S'-
     'etr    ~      ~




                                                                                                     ►      ~t~: _         ~       ,l~rr._       1► it '~
                                                                                           1'
                                      r       ►                     ►         ~► ►~►!
                              - ~■
   _~!



                                                                                                                                                                                         !7




                                                                                                     M~SS~A — up .
                                              r   S      ?•i ~i~ flN DSH~.~w~~~ A-Tz~S`CI]_L
  cam     , g2~es~ /e~.D ?I~                                                                  y~~          ~~ t~~          _~
                          ~e   a~  ~r~  ~  ~-   ~~   r~ o  ~tc ~ea~ ftiNb A~ X -P~                            rT ` 3~  i~~    P~~ ,.
  l__e-__P~a~~-~.►'r~                                 ~  e ~i  ~s  ~    G =r.T ~~iT ~1~~~~r~
                                                                                                       Tr~~
                                       P~~  ,~c k~   1
  ~~ ~r~4" . ~-~ k~rr
                                                                                 ns of ti7e Defe;~dant(s).
                Sta te Ilo~ ~- ~~o u ~~e re  i.lju red by the actions or inactio                            C3~~c.~~..5 ~- a rti~ —
 4. Injury    .
                                                           _L 1m   ~~ ~R  Ny ~#   ~' clP~t~U -uP ~ CST~
                                     ,LL.D~~-z ~J                                                                        of ~ S
 _ !"~5 u_P _a~~~l~ca
 ,                                                    St- ~a c.C  t~~ ~S 't~1~AS rY~u~~'~-F~ef' ~~, ~S~ ~c~,~
                                                ~                                                             s~N Firr
 ~i~-;_l~,UsT~~ ~~ ~~                                            ~t~  ~~a ~~ ~~~Y o~
                                     Fe~ ~vT   ►c,, ~~ P~   .~o
 ~~~-~f-s,~ ~►.,D

            ,`~~~rf?;nis'_: - a~i~~~, i ~~niedies:                                                 7CC JJiOCCC  i~L:i:~ C~ ~::~lllllliSt'~i~ti%
                                                                                                                                                e ~l~ie~. ~._ 1 alt d.1.31 ~ . dC %'7.
                                                            ~1t1\ E'-Tl',"l:~~C~l~.`, j ~rl'i:.V31
                   ,'~1'C' ll~`_'1'' i.77 ~~ ::Cj1T1~'llS~7                                                                                                     ~'                1~

                                                                                                                                                               ~ ;" i~C        !! _~
                                                                                            ..' I.       Q l ~ `l;11': ~.n
                                                     S( G_ ~1G~:1~?1,'~ii~ L                                                                       ~I ~c
            L;.    D1L '~~OU ~Rl~~l"ill c. i"L~j~1~.                                                                                ~ Y ~~
                                                t ~o~ i~li ~~ ~ , ~~,~i ~~~`  ~ to  ~~~ :.i~1~e ,t le~~ l`~
            c.     Did you a}~pe~~l your reques                              J;'1;~~1;1'8l]V~ 1~1~C~ 3~
                                                                                                         3.11~:~ l~l'~]. ~~1~!el~\ e~~
                                                                                                                                       ~l i11 '.~~:7~%I~OL
                                                                           t jDi 11iii
                                               Ql~ ~~l~l t,cl it 1~.~]l1~S
            ~.     11 VO'1 C~1L~ Il~~ :UUlil]T
     Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 35 of 53 Page ID #:487




                                                                      COE"~"i iI                                                                                ~
                                                                                         : ~~ ~~~LN~~~
                                                              17~?RY iriui «'~5 V101atZ~
                                    Oi OCliZ~ fZC~~ic1~ CiVl~                                     ..
1.     5~t~- t11P CO11ST1CLlt101i3i
                          ~iCf~i rJ~£~L~~~                                          ~~hT~ ~1D~G~
                                                                                          .i
        "~atl oF~.~~~ M~C
                                                                                                      separate counts.
                         ~ the issu e ins, olve d. Che  ck  only one. State additional issues in
2. Count II. Id~ntif,                                                                                    ~j, ?~Zedical care
                                               ❑Ma  il                ❑ ~.ccess to the co~u~
     ❑ Basic necessities                                                                                 ❑ Retaliation
                                               ❑ Propem~              ❑Exercise of reliaioi~
     ❑  Disc ipli nary proc eedi ngs
                                               ❑Threat to safety ❑Other:
     ❑ E~:cessive force by 4n officer
                                                                                                        ribe etactl~~ tivhat e~ich
                            Stage as  brie fly as ~~ss ible the FACTS sU~poi-tul~ Count II. Desc
3. Supporting I'~cts.                                                                                                        legal
                                                your ii~llts. State the fact s clear l~~ in your own «~ords ~vitllout citing
                                    violated
I3efendant did or did not do that
authority or arguments.                                                                                 N 1~~5f~5 ~ P~F~rk~'2
                            ~N~  ~~I  C~—  ~'L ki. ~'"  Fzr ~I~S R~£~lAr7'r-i'b"RI~S
 1.t`.~~1QA~l~~          t                                                                              ~J.~ t~~c~L
                       N~                          s~      c~Q~
                                                      ~ t#~',~~~        ~.~T~, r~i~D~
                                                                                    L.A~,~/ .
~~CAL1'~o_~.~ ~oR~~rro                     , ~,er z~► e-~, ~,tn~t~_2-~c~~ ~~ ~i ~'~
                      M~     ~~,- csP ~
                                      -                                    ,;+~~i 'tea pt~_
~~__ -rz~ ~t~c~~               aS           ~~tars~~-r~ cam._ hc~~~t
             ~15 D~- V-t ~. ~i    ?~ Vi~ ~z~
~~t''~1-~ •~6

                        ~   PA    N   ~~  No  6~    ~  gY  c~c   R  ~*-r~-► ~.€~'L~~✓€~ ~~-r~n~~ag
~}~~ ~ ~C .    ~ !} ~                                                                      .,~ra~~ls.~c~~ ~e~
             r~4  N:t ~t~ sPr ~31 ~-y ~. ~~. ;r~t    v~~~ ~€x~t'~ a~ni~ ~~ L~
~~aP ~~T c.~                                                                   ~~L. ~O~ ~t .P~7~~~ C-~.~v
                                           ~1~ ~ 'Yl - M. ~i ~~C:. ~%1~D hPP
                                          1~
1a~i b1i~, Oil ~t •~l.C~" ~ S D~F~~1~~                                            DP tit.1'~R~ `s
                                   ~~ yam'~.. 2.~~  ~ ~f;D ca-~ is~t-f r.p ~~r t~
Sd_NS?~1 ~~~2 c~~.~.  ors   F~ ~r                                                  lir~~r7~.~~c~.
                                ~~' (-~    rT~    G~v s~' ~ F~c~e_,rzc~ ~~ v~
         i 2r~~ crNDzr1L-~
1 D i5 ~ ~                                                     e~~ A~~i~ ~ y       Lsus_ _AND ~v~~
                                ~!.- 1x~ wN"fN~s~
 .~~t! lv •~~' ~~5 FZ..~rntr~-~
~f                                       r~ c SNc~ ..tl ~~2 PA S] ONL~I ABU X-RnYkt~►DMn~`~u~Nz~It
=nl~,te.~[a t'~,~'r~ =s srs     iL su~~                                                c~c,~~ _
                                           n-
                                     ~~ was rn-f~~    '~ s~~ s~~n~ ~~ Est-c.~~
  5'. err ~ •~.q - ~s wt~c~ P~~nrr.~    M • t7uC ChWt~ ~.N ftN
                                                              OT~LI~ PC~'tN3~ (H£) iNOu{.D
                                       ~~~N~'~r~ V
  17{~ ~7eci_ _ _7?5 D


                                                                                i ~s              ~.

                                                                             the~Deiendant~s)_
                                             by t11e actions or inactions of
  4.    Injure. State ho~v you ~verc injured




                                                                                                                                                 .,   ,
         A- ~n~i_nist a=~~~~e I~cricclies                                                                           1'li]Sl:a'.IV~~L~~l"~~5~ ~~~1.1:7b~e:_~~
                                                                                                                                                               :JL..
                                                       ~.)~~ :.:r'3111~:Q ic` ,
                                                                              1 ~77~ V~u:1C~~1lOC~'~ti.1~S ~1~c~Cj1
                                                   1-~1
         `cL    _~=~1~~~11~'1.'311\'8(111-1 1117 51                                                                                                        ___ ;fir,
                                                                                                                                             ~ ~ ~~;'
                lll~ tltlltl': ~?                                                                                                           ~ ~~S           ~~ 'v~_~
                                                                                icl X11 :..011l'~1 TTY
                                                   ]C~' ~iiiT11.71StT1~1~'~-'z~
         ~J.    T~1~ j~0'_1 SL~l~11llT U 1Gt~~~~SC                                                                                          I~ ~'~~,,       I_~ ~;n
                                                                                           1;     '
                                                           f on Cotmt ~-I .o tl~e'~~~~~::s~ vcl;
         c.     ~)id trou r~p»ea'. _~n~n~re~aest for?~eii~                                  'It 21;i                    lamA L.i, `lJ~l~i   ~?:~rl~ilIl \Z'~l~' ~~nll
                                                                                       111.L151i~1JA'e 1~-ll~ ~
                                                    $j~~1:%31 ~i l C~L1~St i0]' ~L~i11
         Cj_,    jf ti"0~] ~~:Q 1101 :;tli~I~llt O]
                                                                                         /
                                                    -
      Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 36 of 53 Page ID #:488




                                                               COL~T7~'                                                         D~~~
                                                                                                                       DM
                                    otli ~r  fede ral  cis-i ~ iiU~ it tha~  ti-~~a~ ~~~iolated: ~~~~}T ~M~I
 1. State the coi~stiP~tiona! or                                     ,               g            a3~ ~1L~T~~t~~..
                                                                                                                                -.
                             ~5     N1F    ,l~   .--   tJ        S
i~ ~'r~r„~ o~ 5~~,
                                                                                                                  separate counts.
                             the  issu e  lll vol~ red   Che   ck   onl> - one. State additional issues in
 %. Count III. Identif}~                                                                                            ~l Medical care
                                                  ❑  ~~Iai l                     ❑ ~cce~ss to the court
       ❑ Basic necessities                                                                                          ~] Retaliation
                                                  ❑Pr  ope    rty                ❑Exercise of religion
       ❑ Disciplinai~~ proce~dinUs                                                                     LV~fL~Tb A~G~
                     for ce b~~ an  offi cer      ❑   Tlu~  eat  to safet~~ ~ Other:'FP~cL
       ❑ Excess  ive
                                                                                                              Describe e,~actly «ghat each
                             Stat e as bne   fiy as  poss  ible   the  FACTS supportin« Count III.
 3. Supporting Facts.                                                                                                                 nU legal
                                                      ur  righ  ts.  St«t  e the    fact s clea rly in your own ~~~ords «~ithout citi
                                      violated _yo
 Defendant aid or did not do that
  authority or arguments.                                                    L=T=_ w~l~_~sL~v~n.TT'-ro
                                                                                                               ~ri-}~ kCLrDN w~tS/rS
                              Cc~ ~Mt  ?~f  ~'  ~~   !h      ~~     ~~L _~L
 1~t~1~~rr- ~ N~                                          —r-~hiaL i~~L~F4 c~~~Y'
                                                                                                          ~~,. ANQ wlk~~~r~ A~s—
                  of  c~  L~  b~   ,.   t~     coe  eg~
  ~ tnae-n.~~~



                                                                                                                                     ..              ~



                                                                                                                             ~   ~         K ,_
                                                                                              r~! ~                    i►
                                                           i           tRR            .:
                        ~ ~                  ~ .1
         1►ifs

                                                                                                                        ~,           i
                                                     ~                                  ~
                                              r
                                                                                               't          A       r         i
                                                           _`'~           ~
             ' L~                 ~~f         ~
     t1~
                                                                                                                                          _11
                                                                                       ~~1                             "~~
                                                                           _mil
    1►~i►         ~      "`IF~3         •~tl.. fr _~



                                                                                  ~.X,k~~'~~ A A~1fl ~g~ p) f~D~1~4~"QiT ~
                                                                                of t]ie Defendar~t(s~.
              ui•y. Sta te ho~ v you --ere ir:jured by the actions or inactions
    4.    Inj




              dministrative Remedies.                                                                                 ~~-ai!al_~,~~ ~~; vow -
                                           ti~-e r~l.i edi~ .s (~~i e~~ anc epro ced ures o~ adiliiust:at~ve appeaLsl
            a. ~~ethe~~e ally adilll~u~t-a                                                                            '~ 1'e~ ~..~ T: ,
                i:istii~~ti~,l~~                                                                                       i,L~i 1PS      ~_I :~C
                                                                                    i'l';~_l~l OL ~,Ot11T. TTi?
                                                     ;;ii {~C~l 3G1!i111'Sti'al 'C'
            ~7.   lild VQ'~~. 5L~17i1]l~: ~l 7-~C~'a                                                                                    y~ Z'es ~ ~ ' .
                                        r ,-~~~ .le5t for ~~el ief o;, (_~o a»t I?1 tc, the i~iQh~st 1~:~~c'_`
                   > d vc~l~ appeal you                                                    \ F_' '~It~f 3:i a'7`,' i~A'~ t. ~~I]Z
                                                                                                                                  ~_l~' e`;1~1~11i] ~~'ll< <1~'~Ll
                                                                                                         '~, 3t`
                                                                 ~~~1 c ' cC'~'_l ~'.~i 1(~r .d~ll~ill1S
            Ci.       ~~ ~-`OLi ~~1'-. llOt SLl~~llllt O1' alb}~




                                                                                                                                          .
                                                                                                            al Count o» a set :rate o.i~e
                                                                                   abn~~e for each aduitio~
                           tL•aa tlire c Cot" 'ts. ans~ vcr~ the ques~iot:s listed
     If ~~oii assert .note
 Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 37 of 53 Page ID #:489




                                                            COU'~T
         State the c.onstittltio na] o other federal civil ri~rhl that ~~~«s violated: ~~~~~ ~~~I~~~~



      fount     Identify the issue involved. Checl~; onh~ one. State adaitioi~a] issues iii separate counts,
      ❑ Basic necessities                ❑ Iv1~il            ❑Access to the court              ~ I~~edical care

      ❑ DiscipLin~i-~~ pl~oceedili,~s    ❑Properly           ❑ E;iercise of relinion           ❑Retaliation

        E;.cessive force by an officer ❑ Tlv~eat to safety ❑Other:

                                                                                                  Describe exactl}~ ~~~hai each
3. 5 uppoi~f:inb ~~~cts. Stale as bi-iefl}~ as possible file FACTS suppoi-iulg Count
                                                                                              n~~~r. t~~ards ~~~ithoui citing leUal
I)ei~c n dan ~ did ol~ did not do that violated your rights. State the facts clearly in yotu~
a~~tl~oriiy or ar~uinents.
~.D~~.h►~                   ~, D~ Nca~~yrr~ ~T~-~t.._-r`rr~t~s ~.~,t_.~~,'~~-ra~~rt~~tc~~J wtt~/=s ,~

 ~~~ M ~~~t~ MF.n~+ ~ {~~TN                                                               -~~ c1~r~ ~u~~~res~ -saw.., ~~zN~

 z - vNly~ ~                  rr~1g/~s Dr~~/6uy~n~ was ;~~~~ r~~ ~~~~ ~Fl~s~~~~r~~
Cc~~lt?zT~,~ AI~JT~t~3t~--Ta lea ~tQ,~ivo ~~r„r~             5 sitP,e~~~~i2 ~Ae;~L7TY~~oG2A~1C~~
                                                                     ~tNaS'lf~ ~'c Fc.(<S&S '7`~ ~1-~K
D~.~LNDkYNT[~~-.1~1taC.~Y~.N STy~'i~rf7~-}~'fn1A=S A CtC3~dD'~~SStI~
~~-n.~~ ; ~~ ~uYg~ ~l.u~`-~z~ ~t~" ~suL~~v PL                                                                                     FA~~~tC~ ~:Scv~ tees



or~~~c~~P~;fl~r~r~F Gc~ ttP~.D 4~~~i~`~~._~
~                                                                                                                ~ 2.-+z~~ -r~~:~~t.Y a~

                                              ~   Ate,; ~.A~c2D ~1 1,#~T~~-s
y ~ ~~5~. ~'u~sG~g, A-Ni7 ~~~-NPP~T~s ~k~-Ltin i~
~ ~° th.a D Sfl~~TY lrc'r- ~5~                                          ~=i~1.~~s~SP~6 ~►t'L~ Fa ~'- P                                             TA
                                                                                        ►~i-L7 CCU~~
                                                        G:~ -Ikk~- S1►~ N~T~~l,l~ ~1~1(~1
~@~-1T~`l GNU P'~ y`~~L`Pci.- 1~ 2~AL~~ Ak ~ 1~ ~     1
( ,l~1.9 tai ~t_~S~i~T~~! lr(~tJ 4~~i~! -Pr1.lD SU ~f~~---~~ ,_ M,          I~S~i     -~ ~.L~

                -                                                               ~

4.   I.r,jur•~~. Mate ho«- ~~ou ~~~ere injured b~I the actions oz inactio~Zs ~f tl~e Defenc~ai~.t(s).




     ~'.~;1i 111151T"plc V" ~_~[1.1C(il~S.
                                                                                                OC;C~C~Lll'C< <~i ~1C1111llL'~~Li~clL11~C' ;~.~~l~~.r71;~~ ~ t ~ 1.1 ~~ %~~ el i ~.'
     R.     ~ ]~~' i:) C;IC' 'rll' 1 ~~ill1]IIllSti~~ll.lV~" TCl1~i(%lj1CS ~ ~'7'JC`.'111C~ jJl
                                                                                                                                                                ~~" ~`       L r : C,
            i11SLitUlls': `'
                                                                                         COLIii;                ~~                                      ~ ~~"~~            ~J ,~'0
     17.    ~.~ 1~~;11 ~L'U17lli 8 1'(',gLiCS1 f(,` ~;~,]711111~L1'~111 ~"' 1~~1Ci (.1]1
                                                                                              l0 lllE 11L~~1-1~S1 ~~ ;'~~~                              ~ ~ ~`'            ~-1 ~',l
     C      ~1C~ VnU ~=1j~~~i;~1] 1'0111 IC;Cjll~'Si fO1' ~'LI1Gt C)_] ~~O',U7~
                                                                               :li~~)~i'l.;Sll~~.l;A,~ I J~l~l ~L~ gill]V' ~?~~'El. ~~i~~~l` e?;1~.~1111 '~'~'~:'` _`~"~'
     C~.    li `~-'OLl Cj1C~ 17'_~l ~LI~Illl~ ~~I~ a~ ~~~.; ;~ 1 ~C~ll~Si ~_Oi
                                                                                                  ~                                                                    _
            CplC~ 1701.




                                                                                       ~ ~
 Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 38 of 53 Page ID #:490




                                                        ~. ~~VEST FOR RrLILF

                       •

                                                                                                                      ~~.,.       _   A    /:f ■
                                                                                                          S~
                                                                       ►~~~~ .~: i      tS~ .i a!i: ~..l~
                                     ,ya.~ ~►~    ~     1~ ~ ►'                                                                       ►l ice,, ~
     ~l~c              :r, 1 v                                                                         ._        -~   ~    . 1~
                                                             [►        ss   •       ~         -
                                                      '~~_
              ~~1          i            • {ua..
♦d




                                                              reoin~ is tru., and co_~~e,ct
                                                                                P        1

                          i~yl~~t tel~o                           ~S    Q

? d..c14:.. ~n~~SpeNal~p$
                                            7           ~
                                 /
   P   7 1?   )
                                                                                                                                             1
                                                                                                   /Y3 ,«~   •

                                                                                                  ITV ~-
Ex~cuteri oz~                                                                                          SIGNAT             F PLAINTIFF
                                      DATE

                  ~~

                                  l assisf,.~nt; oz'
(~~ame and itle a ~arale~al. lega
                             pare this complain)
other person ~~~hohelped pre




(Signature of ati~zztey, iiand)




                               ne n~a~nber)
 (Attorney's address ~ telepho


                                                              :4~D~TIO'~AL P A GES
                                                                                                                         ce, ~~ou inay at~ach
                                              cise ly  in  t~~e p~- ove  x spa ce  on the foi7n. If you need z~lor~ spa
                                         con                                                                  the e~ten~ applieaLle. If ~~ou
 A11 gt.esiions mustbe ans«'erect                         the   tc.~  n must be colnplet~ly filled lli to
                              iti.o ilal pag  es. Bat   t                                                                          r aL paUe~.
 i~o more than fifrte~n add                                       ~ _ :tion  of~t he coll i~~laint is being continued and ntimt~e
                                         to identif }r  «~l~ ich
  attacL a-ciditional pales; be stu~e




                                                                            b
       Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 39 of 53 Page ID #:491
r
      STAT[ OF CALIFORNIA                                                                                                 DEPARTMENT OF CORRECTIONS AND RENABILITATION
      COMPREHENSIVE ACCOMMOpATION CHRONO
a     CDCR 7410(REV. 05113y                                                                                                            Pac7e 1 of 1
         NSTRUCTIQNS: A physician shall complete this form if apatient-inmate requires an accommodation due to a medical condition. Check F
         f the accornmodation is to be permanent, or T if the accommodation is to be temporary. If the accommodation is temporary, enter the date
         he accommodation expires on the line. A new form shall be generated when a change to an accommodation is required or upon renewal o'
         3 temporary accommodation. Any new form generated shall include previous accommodations, if they still apply. Chronos indicatinc
         permanent accommodations shall be reviewed annually. This form shall be honored as a permanent chrono at all institutions.




      Barrier FreeNVheelchair Rccess

    ( round Floor CSI ~~Q/yl~/L~ ~~ P                                ❑T                      Permanent         ❑OHU ❑CTC                      ❑P ❑T
    ~-
     Contmuous~Fow~l'Z~~1TE~rafor ❑P                                 ❑T                      Other                                            ❑P ❑ T
                r             ~
      None      ❑                                                                            Wheelchair: (type)                               ❑P ❑T
      Limb~esi_~s.~.—
           Pra                                               ❑P ❑T _                         Contact Lenses &Supplies                         ❑ P ~T
                                                                                                                                                   .~
      Brace ~~'(~ CL~~~-)                                    DP ❑T                           Hearing Aid                                      ❑ P (~
      Cru        _                                           ❑P ❑T                           Special Garment:                                              "~
                                                                                                                                                           N
      Cane:(type)                                            ❑P ❑ T                           (specify)                                       ❑ P ~'A
      Walker                                                 ❑P ❑T                            x. GI sses:                                     DP    T~
                                                                                                                                                   3
      D .~s~si~~athet /Colostomy ~IRpfies❑                           ❑T                       o o             i g                             ❑ P ❑ T~
      Shoe:(specify)_12'                                    ~4~ P ❑ T                        Extra Mattress                                   ❑ P O ~,
      Dia            - i4ane3                                ❑P ❑ T                          Other rf~1~~'II                                  ~x           ~]T~

                                                                                                              {..

      Nor,e  D                                                                               Therapeutic Diet: !specify)                      ❑P ❑T
      Attendant to assist with meal access ❑ P ❑ T
      and other movement inside the institution                                              Communication Assistance                         ❑P ❑T
      Attendant will not feed or lift the patient-inmate                                     Transport Vehicle with Lift                      ❑P ❑T
      or perform elements of personal hygiene                                                Short Beard                                      ❑P ❑T
      Wheelchair Accessible Table                             ❑P ❑T                          Other                                            ❑P ❑T

      Based on the above, are there any physical limitations to job assignments? Q Yes ❑ No                                      If yes, specify:
      No Jumping / no running



      I nstitution: CSP-SAC                        ~ ~ / _             Completed by:RIAZ, N                                       Title: MD
      Signature :            _~_~~                      ~                                Date:10/15/14

      CME Signature:                  ~ ~~~~''~~ /
                                                                                         Date: ~ ~~"`~" ~pproved                      ❑Denied
                                                                                                  m m/dd/yy
       1. pisa~ij~~ode;           2. ~p~]ID.~d io /          3. ~lfecpyo_Communication
           TABS score 5 4.0       Q Additional time ~        Q P/I asked questions             CDCR #: G05794
           DPH[~ ~PV[] LD          [quipmen~0 SLI            Q P/I summed infartnation
       ❑ o~sn oNH                     Louder []x Slower      PI^use check one:
                                                                                               Last Name:'~URNER
      ~ DNSQ DOP                  Q
                                  x Basic[~Transcribe            Notreached'Q Reached          First Name: LAFONZO                                         MI:
      ~
      x Not Applicable                Other'                  '  See chrono/notes
                                                                                               DOB:           9/16!1972                             /~,~,     ,~~. .~~~
       a.Comment5;rnoe                                                                                                                              ~%        ~ ~,     ~
       istnbut.on: OnQinal          Copy to Central File,                selor, and Inmate
                                                                                                                                                        dew/` ,          ~


                                                                                                                                                      11         1   n t~ „
                                                                                                                                                                              ,
                                                                                                                                                                              . r
                                                                                                                                                                                 r
                                                                                                                                                                              =;~
                                                                                                                                                                              r
                                                                                             ~f                                                                  ~~~~
       Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 40 of 53 Page ID #:492


                                                                                                                                        DL=P,\R'f1~1~NT Of= CORFiECI"IONS AND REHABILITATION
    r~ra~~~l~'T-~i 1~~~'ni~ i I~.~i~7i..~r'~ ~:r~r'S~ r~yt~C,wL
    coca soy ~~ti ~~~~~. ~;~~:~~                                                                                                                                                             Page 1 of 2
    star-F u~~ or~~v                                                                                           Institution:                        Lod l~:                        Category:                  ~
    I_rnerg~~ncy ~pp~~al                             (~J'(.s                         [~No                       '~`r.. i_,,~                       ~~,, ~ -, _ c-.                      `y

    Signal~_ire:                                        C) it ,:                                               FOR STAFF USE ONLY                                ~I
    You may appc~ I try rn~ dical, nisi t~~,l lu:alth, of d~,ntal decision, action, concJition omission, policy or regulation that has a material adverse effect
    upon yoin wr:lYare. See C~:ii i ornia Cc;de of i-3egiilations, Title 15, Section (CCR) 30£1h.1. You must send this appeal and any supporting
                                                                                                                                                     documents
    to the f-I~,iltli Care ~ppe;;il ~ Cenrdinatnr (HCP,i~) within 30 calendar days of the event that led ro th2 filing of this appeal. If additional space
                                                                                                                                                              is
    needed, only one CUCR Form F;02-A will he accepted. Refer to CCR 30£34 for further guidance with the appeal process. f~lo reprisals will be
                                                                                                                                                          taken
    for using the appeal procc~s;.
    Ap{~eal is su9~j ct to rej=yctiurif en~:~ re,nr of !::yet der line is e;cceeded.                                                     WRITE, PRl~lT, or TYPE CLEARLY.
      .-.r      -. a~):                                                       -                                   i
                                                                                                                ,__;n .roc-=_r            _ _, c          ,~.
                                                                                                                                                    ^,crrt,~
                 ~^                                                                                                                                                              .,~grirenr.

    5tat         <~y tlio ~;~~[:~ ."o~~i•             ~_, ~~f y ~, a::; ,! (~x~m~~l~~: tit. ic~tion T S~aa Specialist, etc.):

                    _,
" ~            ,~               ~ ~        ~-           r~" y.          ra         ~-e ~~~~ace, u,e Section A of the C~~~~i 602-A): "'" ~+t~v~=- ~ (..)t~l                         ~~    n —_.
     Tl~?3 f _~'~~ e~~-S ~-~ ./ `~~l~~ih-~~' ,_~~~L~•~'s:~.t'.~_~ L~.F L.~         ~~ /~                                                                      ~-r DTI FCi'T~IZ 1 CIiZ_ l~l y C.c f=t'
    ,~?ss~cTV ~ij     N~~ cTi,~J ~-'~! `I L~ l ~Xf~L:~_~_U/~~ /'Srsr,±% -~fll~' to/Iv -~~C~•/-~                                                              ~~ 1~~ ~i`~-a~i'f~                     ~


        f        _~~I~~~tir~i~ r_.., _ ~.,~ ''~ ~~c~               _   ~ ..          ;p,-2ra, Eisx~ S£cYion E3 of the    OCR "o0~-A):              ~~ ~'Vi°,~7~~/~-L ft'7~~(~~
                  ---                              ~                                       r   ~;                                                    ^ r          y
                                                                                         _.---Z_r~.._---                                           ------- - _ ~                               _~



~       Li ~r suppr~rting clo, i ~~ i ~~ ~i.; al~,icl~~~arl (~;.g.. Tiu;t nccount St;:tt~rn2rit; CD;~I? 7-110, Cornpi:~f~~;n~i~ie
        ~ccummod~:i~`irm Chro~ici; r_:1~)CI~ 73~i2, Fiequcst fUr Health Care Seniiccs; etC.):
                                           -                       7

        "•lo. I hour ~u c a~tar n<;~rJ an/ suprrrt~ny documents. Fi~~ason

                                               ;1~                                                                               __      _—~

       --                    - ~ r ,~      ~               it'r , +~a Ifl uL~ ~7QY, ~ ~dl i!`/F* I71~f fl~blf f0 f~C~l l~ 1R If`'_1'JI~'~V.
                                                              ~.r,..~~                                                        -
~     ~~~.s.,       _ _,.~ t _ .,, ~..             'am                   C11~'cl( On~~. IS CnCI, 602 n ~Itar_hr~d"7             _...ma.~~.~~(,:.~ ~'~i~_~
~ ..~.Tiu ip~ r J ~ z, b~ r.                                      ~ L r ~~ci; C)nc: I ~ tru., a i:;caler~orizf~dlconv~r[ed 1321?            Yes    \, f~lo
  ___f 13y~~a_,~~.d at li ,i: Firms[ L av,;l ~~f F~~cvia~ni Go to ueCtion L.
  ~~ I~e~ect~~ (S ~e _t;acl c<J Ir:,r :r foi in~tructioni:             Datr. _      --- ~nta: _                  _ Date:                 Date:
  ~('~n~•ellnc~ (~ ~ aCt~~ ~~ci tei~^r):                             Datr_ __
i ~~          eo!rcf A _,ign~ cl to: _~!_ l.) i=,.(_~. i II i -1~---         — _ ____ __. Titl,~:                             Date As~ignecf     I `~i~ ~ Date Due. W'!.~ ~' =:
   i rsf I_.<.:~/ ;I f~~s~ ord:;i: Cornpl~;te a Fri st Le~i~,l response. Include Intervie~^i=.~r's Warne, title, intcrvie~,v date, location, and complete the section below
                                                                                  / c'
                                                                                                            Intervie~~i Location:        ~ Z~~n ~ C.
    `(our appeal is~i.ie is                          ~Gr~nir~c.l                 'Granted in part              Denied                       Other:
    Sc;:: ~.!arhecl Ir ;;;~r. If 1                   J ~ri~i-~ ~~ i ;t ~~
                                                                       Lr~ ~~ I response, r~
     1 . Ci d ili~~ c;q 1_        2 ~ ,_~            i ~ r~i ~~n        E_~, rhd _'rii~mi,nica?ion;         I nt~rv~e~,v rond~.~ctF d? '~y Yes ~~lo
     ~, T      s~orc, 5 d.0            \,cil_ cm ~I lir,~e         ~ f' I a_~I<~d q~,estions                ~nt~,r✓ie~nrer.     ~ ~     T C--- iY~(~
                                                                                                                                      Vi.~                                                  ~_
                                                                                                                                                                                  Title: ~ ~>>
     ~r D~" I -! DP / _l: !.D         F p,ipin~ i t _. SI I      ~! P l ~ mined information                                                   P,ini ri❑moi
        oP ,~ Dru-~                   ~ ~-,sir i~, ,~c:v r       6~~z         ~.ac~~ of e:                  Signatur~            ~~~                          _____._ Date completed: r             ~~
     ~- DPI, ~ DGP                X54 L ,sir,     7 i~u~s~ i I ~ ,_: Mot leached $G (leached
        Nol Applical,le           — Utl:zr'                      ';,,;e chrono/notes                                   /~•~                                                                    ~ ~,
                                      ..                                                                    Revie~Ner: L/ ~C~',C~~ F~-~                               _        _ Title:        ~'
                    _ ___~=----- r ------__ ---                                                                                       ~ ~ ~ ~ ~~~r,e,~~'
                                                                                                                                                                                 ..
                                                                                                            ,~I~II~tlJfP,:            '
                                                                                                                                      -
                                                                                                                                        " Lf/~                      ~~~~.~—~•_..
                                                                                                                                                                ~~ir-------~----
    i icnc u,~~ o~,iy                      — ~;.                                                            -1CAC Use Only                                    ,~
    D~itc r reiv~rl by HC,~           __~ ~~`_ ~          ,.~ _                                             _ta!e closed and maileclideliver                 to appcllan'~~~

             ,'~ 'l i           ')                                                                                                                                               ,}~ ~~
                                                                                                                                                                                 T ~ !';                 ~
                                                                                    ~~C 1 z ?n~;                                                                                  A      L


                                                                                                                                                                                        ~:~~,
               Case 2:15-cv-00109-JVS-AGR Document~~~
                                                   85 `Filed 09/01/16 Page 41 of 53 Page ID #:493

S r;1TF OI =:ALI1=0ri?lip^,                                                                                                                                                                             OL=?r\HT1~lE~l ~ Oi= CORI ~! CllO;~l ; /~I~iD RLHt\BIL17/~TIO~~I
 ~ ~ l ;"~-`,rte= ~,~;-~i~~_c~=. ~i=':"" .=\_ Fu~;Ld ~a l~7'~(.Fi'~~I~~lT
(,i~CR o0?-A (U8iU9)                                                                                                                                                                                                                                                              Side I
                                                                                                                                                                                                                                              - __ -          -- ___          JJ
                                                                                                                                   I:'1.i7 USC OP1LY i I ., 1, „r                   3 ~.      ~      Vi n,-           ~   ?;                                      r 1          ~.,~     --

                                                                                                                                                                                ~                                                    ~                                        j




  ,~ ~<ia~~h ti~i~; tuna t<> tf~ic CDCR 6i)~. ~;nl ~ il~ nio!~~ sptt~c i:s n~~~~l~~l. Onl}' oi~e CDCP.60~-A n;ay be u~~ci.
 ~~~,;;~:~al i;; ~~.il~j~:ct to rr-:jec!i~~n if oi;e r<~~,v oP t~~~et ~~,r line is ::>ccee~ied.          `PrRfl'c, PRINT, or TY~'c CLEARLY i;i black or blue in',s.
   1~ nu (Lat FIrsU~.                                                                                                                                 CGC PlumGzr                          Uri Cell Piurc~,o~i:                               A3siy~~ ,~er.c.

                                                                                                                                                                                                                                                                  ~",~.
                                                                                                                                                                                                                                              ~L..~=
                                                                                                                                                                                           1
   A. Ccntinua~;on of CDCFi ii0?, Sec;tir~n A onl/ (Expiaiii your issue) _ ~~;~                                                                                         1 __~        ___~'~~'                  ~_~~.L~'

                                                                                                                                                                                     '7
                                                                                                                                     ~l~~.. ...          ~s~`                                                  ref ~q
                                                                                                                                                                                                                    --~- ;- ~t.;11
          r            9    ~9. ~ I ~L~ ~~—~~._.~                                          ~ 1:1 ~~    f`~~-}      .i.~_. 1       ~I                                                              ---~,,,. —
                                                                                                                                                                                                           f

                                 /
                                                  .~.                        :.r               ..             .,          ~__.                        ~-+
                                                                                           y                 __                                          _._..                                                     _ __ --
                                 ..-e
                                  ~`         ~          ...         t                                                                        ..                  y      F                                                             1,


                                                                                                                   ..~
  'j_t-.v                   r ii i
                                            ',,-, ~';                                         _~. l ~~ _~.=~~ ~-~~.~"~C:~ ~;~-' 1~i~lN___l~~' -~_~                                                    ~' ~'4 ~=~ r~ ~-1 A~'~.~
                            , r_                                                                        _                        ..         ._._ - ~                                                      .-                 ,

                                                                              ~                         l ~..r r ~ ~-~~. ----                                                         —~—
                            r..              -..r,.                          ....


                   9                               ..
                                                                                                                                                         -                                                                           —
    f'\ i.l.~ ~ ~ ~.._. ~~ L_ ~ --a                             5 ,
                                                                  ' - }~ ..                               ~'1        r ~+-~`~ ~~ ~ _r~+.. ~ aC_.:%                ~r.,-y ~~~ r~ l~~ '.~~'--_~ t                           _..,; ~.    _
                                                                                                                                                                                                                                                              j      ~ ~ 1~~~
   Z) =                                                                                  a "~~,~:~
          ,:~i..'.'~,`V ._ \•:              ---              l ~-             __.w                    r`~_~1,~' `3         -~-'    ~ l~.~
                                                                                                                                       '  i,-+—T~ ~"1 . ~"U_~1 .                    ~G— ~`;.LTlt~ (~\~I —

   ~ --~ }•~ <~ i-•.. ~_ %~ ~<__•` ~ 1~ ~ .. .. ~` ~ ;., l F;,~,... ! t ~~ "~ L:1~'~_~,i 1`-=-~~ =r `'-1\1 Ll `I L~'S.!tit_ C 4 ~~_~..
   '
              ~-~               ~,, .              ~, ~                                      7
       ~-,~          (-'+ I`'_ _1 ~-`r~t'` t `~ ~+,.'~1fi.,~ .~_~~-' C'7c✓j_l~1 _~_ ~~i:~-•                   :, 1 1~~t_ `~i`A-i-:k..S
                          ., , .      ~,- ,,, 1         F ~,._~,       ,...    A.__  ,,                                  ~.~ ~, ,,
     1 '~.~_ '~            -~.(_ rl .`- i                           ~t_ ~                 1 !___ ..71 1 i 1 ~ i                    `_        ~                    f      ~~     C          rL:~`              ..i-~       ~l L.c_:,
                                                                                                                                                                                                                                                                ~ G'sG
                                                                                                                                                                                                                                                                     ~c;,rr/~
                                                                                                                                                                                                                                                          lf         ~
                                                                                                                                                                                                                                                                                             '~..~ \
           ~                                                                                            ~,.            :~'                                                            i....
    t 'r'y+..~
                             7        r
                            ~•~ ~ r ~~ , ~
                                                 ...                                 ~ t, ;..
                                                                                     3                              ,:~__. r_ r~, _It~~~i _ ., _~'_ ~~: ~ r~.'.~~ar~'_z~ s'                                                                               /               ~   ~   r`S              t
                                                                             !,,                             .,                                                                                   .-_ f '`~~~'~ (r',~`l'
    7 1~ i                                   'i C t                                           ~ -f                 a'l~ ~'t '~t~~t~iw~.I }lc' ~.,~i~~~l
          .- ` . ~.'il,'' .r ~                    ,.,.~ ..          ~~~i~-~                   .7: (. ~~'j1~~
                                                                                                             ...f ~               . ,~_~~~'~~'Y~"~'~r,— G~'.5u1~„ii'.~_~~.                                    ~l   ~      ~~
                                                                                                 /                                                                                              r..
                                                                                                                                                                                                                                     ~ . .-
                                                                                                                                                      _                                               _                        ~~r
     ~. i;J;           .~ ...::! ~ .,~.1 ~                              ~ :. c.. .! .,i .t. ~I-:1y (1`~,,,.it Y,.i1 ~~>. _,i~                          /__lj.,l      / ]1 GS1       _~/~~,`~ ~-c.—S_~ _ ![ ry                                     /``_~           *~- ~       ''\-.     ~-
       .-.r--~
          ~~              ....     r       r                                                             ~           .f                 s~        r                                           r



           --•~ ;c ,                              ~                          iL~~ ,'   ~- ~~~ ` / ~~~,~ ~~'a/l~r_ ~ ~^ ~'_ !~1 Y f>~.-~~~i l~~L ~r ~_~ Y c~~_ ~~r~~4~_S~
                                                                                    _        — '"Y     -- --               -- xu
                                            ..           ~              ~~         .--      1                                      `~—~ilt'~._.~_~                                                                                                  ... _ 1`t
  !;~i~ /`l'-~ r                     ~_                         f!1-                 ~ ~~_/~C`~                      C-           CrC' ei~ ~ Y)-T4                                     i'~,;         !f                                                                       ~1~
      ~..,~~r                      ,~"                                       c; ,/:1,.:                 '_~,°-<~          /`_~yC~~~t.f `y _L                                                     / l~ J_..J c',~1~-' ~_~1 1 ~..C,__..
                       :~ C.) t'~'`                                                                                                                                             J
                                                                                                                                                                        ~ '~ `__~fJ~`~',L c _.~. '
                                                                                                                           J~ )
                                                  --                                                                                                                                  —                                                                         --

                                        n        ~ ~            - _'                      -' ~ ~             '__          .                                                                .,


               __ _                     _ .___
               c  -_ .                                                                                 }_-f_'_= c ~.—
                   ~-                           _                            — t~ _ ;.1
                                                                                    - --                               ice. F c'E~~
                                                   . ~ l~lF'~~~~z
          ~`.;~.',~I`l ~ r►.4=~ ~ -;rw_~,_,:1r~~-r~~              _c ~c_~7"ZI~Y~~hk'z'J~~~l:~~:~-~_4~'jJ<_~~ lblt__~{' ~ ~ -~15'~.~~~
                                                  __                                           '~_yl- ` }..
                                     ~ +tti-~ Z r ~ _1 ,              ~              1       r
       t-       \5 t                                        f__~ ]1_c 1~ c z ~~_~ !~~ ~~~ +              r l~ _I1_~-- `~—
                                                                                                         _ _
                                                                                                           F    ~.`
                                                                                                                            —'~('
                                                                                                                  /  ~   +j
                                            r                       ~
    l~im~~i.:~~r~.iral~•e 5:~,~atur_: . .~.~ 1-_~~u,r'~ /_ ;            ~~,,-y ~ — ---- Date Submit+~d: __ _    ~~ C ,1̀J' --

                                                                                                                                                                                                          ~,
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 42 of 53 Page ID #:494
                                                                        '
                                                                        ,~ ~

      ~,          .,
                                                                                                                        /'
                                                                                                                         r            ~~'     ~~~

                                                                                                                                 _.;__/

                                              Institution Response for First Level HC Appeal
 Date:        C/26/2015

 To:          TURNER, LAFONZO (G05794)
              S CTC 1005001 L
              California Slacc Prison — Sacramcn~o
              P.O. Box 29
              Rcpresa, CA 95671-000?
 Tracking/Log #:                     SAC HC 15Q30~62
 Ap~~ea{ I~snes:
 In your CDCR-6O2HC Inmatc/Par~olec Hcallh Carc Appc~il Form rcccivcd on 5/5/2015, you indicalcd:

                 Issue Type                                          Action Requested
 Issue 1: Chrono Issues (Lower I3unLc /Lower                         You would like a lower bunk and lower tier chron~~.
          Tier)
 Interview:
 You were interviewed by V. M. DUC, MD on 06/X/2015 at A-Facility Clinic.rcgarcling ibis apical.
                                                                                                 During the
 interview, you were allowccl the op~orlunily to t'ully explain your appeal issue(s).
 Response:

 Your apl~cal with atlachmcnt(s), Unil Health Record (UHR), and all per~incnt dcl~arlmcn~
                                                                                          al policies and
 procedures were r~vicwcd.

 You were seen and interviewed l~~day. According to the evaluation ui' today and after reviewing
                                                                                                          the cUHR,
 particularly the chart notes of Dr Riaz of Oclobcr 15, 2015, there is n~~ indication f~~r a lower tier.
                                                                                                         You already
 have a chrono lur lower bunt: which is valid until Oclohcr 2015.

Appeal Decision:
13ascd u[~on the aforcmcnli~~ncd inf~~rmation, your appeal is PARTIALLY GRANTED.

                 Issue "Ty,~e                   Action RegiEested                                          lZesolution
Issue 1: Chrono Issues (Lower                   You would like a lower l~unlc and lower tier chrono.       PARTIALLY
         6unl< / Lower Ticr)                                                                               GRANTED

            ~-/`/ _._

             ~~~
           t
V. M. DUC, MD
California Sl~itc Prison — Sacramcn~o
1 . Disability Code:      2. Accommodation:    3. ENeclive Communication :
   TABS score 5 4.0                                                                                                          ~^ ~ ~
                          ❑Additional Time      ❑ Pll asked questions
                                                                                                                       ~~~'! ~
❑ DPH      DPV         LD ❑Equipment
❑ DPS
                                        SLI     ~PlI summed fnformalion
                                                                                                              ~~ fi~ .           ;,
           DNH            ❑Louder    Slower     Please check one:                                             ~ ~ ~y          ~
                                                                                                                             ~~                   ~7
❑DNS       DDP           ~ Basic ❑Transcribe ❑Not reached' ~ Reached
                                                                                                                                                   j
❑ Not Applicable          ❑Other"
Comments: NCF, TABS 0.0
                                                                                                              ~.
                                                                                                                       C ~                  .~-
                                                                                                                             :
                                                                                                                             ,




                                                                               r~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 43 of 53 Page ID #:495
                                                       ~~


                                                                                                                      a       "~
                                                                                                                     .r.

                                                                                                                           .~°'


                               Instit~►tion Response for Second Level HC Appeal


Date:    9/17/2015                                                                                  .;; i
                                                                                                    ~,~~
To:      TURNER, LAFONZO (G057)4)
         A 0021014001LP
                                                                                              "~1    l.`~ • j `.i
         California Slate Prison —Sacramento
         P.O.. I3ox 29
         Rc~resa, CA 95671-0002

Tr7cicin~;/Log #:         SAC HC 15030802

Appeal Issues:
In your CDCR-602HC.Inmale/P~u~olee Health Care Appeal Furm rcceivecl on 7/14/2015, you indicated:

          Issue'Y'ype                                Action Requested
Issue 1: Chrono Issues (Lower Bunl:/ Lower           You wo~ild lilcc a lower bunk and lower tier chrono.
         Tier)

Interview:
Yuu were interviewed by V. M. Duc, M.D., on 6/26/2015 al A Facility Clinic regarding phis a~pcal. During the
in~crvicw, you were allowccl the o~~~orluni~y to fully explain your appeal issuc(s).

Idesponse:
The First Level A~~Pcal was received on 5/5/2015. The response is as lollows:
Your czppenl ~vit/r attn~c/~nic~rt(s), Uirit Flenitlr Record (UHR), and rill per•ti~«~rit cleprrrtnie~alal policies a~icl
~~rvicednre.c were revrc~N~ed.

Yoir lucre seen n~iid intervieivcd today. Accordi~t.g to the ev~rin~rtin~t of todny anal after review~~i~ 1{~~ ~~~71Z~~'°r:,
p~n~ticulnrly the clrarl notes of Dr. Riaz of October I5, 2015, there is no indication for a loivei~ ti ~~.'~'~ii"~alrericl~~
hnve n c/u~o~~o fnr Ir~rver~ brnik ti~~l~ich r~s vnlid ~u~til October 2015.                   ~       ~            ~`~ "'-`"
                                                                                                                       1    t~ ~"
                                                                                                            ~             .. ~ r, 7 ~.1 .j ;
A ~ [hc First L~vcl of Rcvicw this appeal was Partially Granlcd.                                             ~         l`~'a~
                                                                                                                 \                        fi,


 The Second Level Appeal, received on 7/14/2015 indicated that you are dissatisfied with the E'i~rs 1~'''i:e`i'f
 Response as ~artialLy granted because you have had a chronic back and left foot drop disabiliCy since 1998 in
 CDCR and have had a lower bunk lower tier chrono. You slated that your condiCiun has not improved and on
 6129/2~~15, you fell clown the stairs and you were injured. You sta~ecl Chat this partially granted first Icvel
 response is deliberately indifferent to your serious medical needs as it slated that Dr. Riaz interviewed you and
 c va(ua~ed you but slid not examine you though you allege that none of this occurred. You staled thaC Dr. Riaz
 simply look your chrono ~vi~h rccl:lcss clisrcgard. You staled lha~ Dr. Duc diet the same by dcnyin to rc-issue
 y~~ur chrono. You staffed ghat both docCors wcro aware of your disability because you have hail back problems
 and a left foot drop that required you to wear air AFO brace and the foot drop causes an unbalance in your walk.
 You staled that Dr. Duc saw you on 6/20/2015 after your appeal was due and he refused to reissue your chrono
 e ven ~iflcr you explained that you were in a~ scg and you were being cuffed behind your back. You sCatcd that
 yow~ mcn~al health clinician, Dr. Nguyen, was told of your fears of going u~ and down stairs to and from
 ~ro~;r~im ancl_ she staled that it was a custody issue and refused to intervene. You staled that Dr. Nguyen
 continuously calls you down for ~~nc to ones and threatened you for not programming until you fell nn
 0;29/2015. You sla~ccl that you would like your chruno ~o he made ~crmancnt as your condition has never
 chan~ccL You stated that you would like to be able to program and you have not been able to gel to Stc~ 4 when
 the ri:ason is medical. You would like your step increased to step 4 as you have no 1 I S's and have been

                                                              4`~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 44 of 53 Page ID #:496
                                                  ~,~"1
                                                                                               SAC FIC 15030~C2
                                                                                                     Y agc 2 cif 2

 ~~rogranul~ing. Y~~u slated that ~vhcn cusl~~cly escorts you, you program which has resullcd in
                                                                                                 dclrimcnl to y~~ur
 life and safely.

 Tt~e response is as follows:
 Your appeal wish altachmcnt(s), Unil Hcallh Record (UHR), and all ~crtincnt departmental policies and
 ~roccdures were reviewed.

 You were seen by V. IvL DUC, MD on Junc 26, 2015 at the FLR. Dr Duc addresscci fhc issues you raise
                                                                                                     in
 your appeal.

 After the FLR you were seen again by Dr Duc on Junc 2J, 20:15 a[ fhe A-TTA. Thereafter Dr Duc
                                                                                                 amended
 your 7 }10 chrono mcn~ioning lower hunk and ground floor with limited stairs. The chronu was
                                                                                              issued on July 2,
 2015 in order Lo hel~~ you with adequate ambulation.
 Plcasc no~c, you have a right to request treatment. However, your request lur spccilic medicatio
                                                                                                    ns, treatments,
 and inlcrprclation of diagnostic tests and their impact to yow~ overall health care management
                                                                                                      is a medical
 determination. As such, your medical treatment is determined by a physician based on
                                                                                                   the physician's
 evaluation, diagnosis, and departmental policy. Your medical physician has evaluaCecl you and
                                                                                                  determined your
 request is nc~l medically necessary. This decision is based on the criteria scl Corlh in the
                                                                                               California Cole nP
 Regulations, Title 15, Title 15, Section 3354(x), and Section 3350(a)(b)(1)(4)(5), which
                                                                                           stales that the medical
 department shall provicic medical services for inmates based on medical necessity and supported
                                                                                                       by outcome
 d ata as effective mcclical care.

 Appeal Decision:
 I3ascd up~~n the aforcmcnli~ncd inf~~rmation, your appeal is PARTIALLY GRANTED.




                          -
          ~        - !/


 C. REGUL S
 Chict~ Support Executive
 C<ilil~ornia State Prison, Sacramento




                                                                                            ~ ~r~
                                                                                                 ~ ~ :`~         ',
                                                                                                    ~a s~'-~~
                                                                                                   t ~~ y '~'~
                                                                                                 .
                                                                                                 ;~        ~,;

                                                             ~~
 Case 2:15-cv-00109-JVS-AGR Document 85 ~~
                                         Filed
                                           ~ ~?
                                               09/01/16 Page 45 of 53 Page ID #:497
  ~~,,
                                                                                                                    r
                                                                                                                    ~y.
                         ,.~ ~ `'
                                    ~~ ~          ~~..                                   ~ Lam,.
                                                                                                                  .~. "¢      ~:




Date:
To:         TURNER, LAFONZO (G05794)
            CaliPorilia Scale Prison —Sacramento
            P.O. Box 29
            Rcpresa, CA 95671-0002


From:       California Correctional Health Care Services
            Inmate Correspondence and Appeals Branch
            P.O. 130 SSS500
            Ells Grove, CA 9~7~~



Tracking= Log # :       SAC HC 1~030~62
This ~~~~peal was revic~ved by Inmate Correspondence and APl~cals Branch sCaff on behalf of the Deputy Director,
Policy and Risl: Mana~emenl Services. All submitted information has been considered.
DIRECTOR'S LEVEL DECISION:
np~~cal is dcniccL This decisi~~n exhausts your administrative reu~cdics.

APPAL REQUESTS:
You arc rcyucstin~ to be imineclialcly housed on a lower tier and the chrono rcinsCa~cd.

i3f1SIS I~OR DIRCCTOR'S LCVEL DECISION:
Y~~ur ~~l~pcal file anal ducumen~s obtained from your Unit Health Record were reviewed by stall. Thcsc records
indicate:
    • On June 26, 2O1~, you were seen aid evaluated by your Primary Care Provider(PCP)for this health care
         appeal. Pro~ress Holes indicate there was no medical indicaCion for a lower tier. The PCP informed you
         if you were to develop cli[ficulty with walking up the stairs or if you experienced fa11s walking up or
         down the stairs, then a chrono for a lower tier may be considered.
    • As s~al~d in the Second Level Response dated September 17, 201 ,you were seen abain by your PCP on
         J une 29, 201 in the Triage and Treatment Arca. Thereafter, the PCP amended your CDCR 7410
         mentioning lower bunk and growld 11oor with limited stairs.
    • On July 2, 2015, your PCP issued the CDCR 7 10 to rcPlecl a lower bunl~ and ground floor —limited
         stairs in order to help you with adequal'e ainbulalion.
    • Il is noCcd you arc currently housed on a lower tier.
    • You continue co be enrolled in the Chronic Care Program where your medical conditions and medication
         needs ~~r~ closely monitored with care provicicd as dcCcrmined medically indicated by the PCP, in
         accordance with apl~ropriale policies and procedures.
It is nolecl you have ad~l~d ne~v issues and/or requests fo your ap~~cal at the Second Level of Review; specifically,
~o not Ira~ve yo~n~ c/r~~o~~o ever tulceii n~gai.~r, to Prot be p~utis/ied fa~ yourdisability acid fears of riot wa~ttir~g to go tip
grid dow~~ the stairs a~T~l 1 would like my step i.~ia~eased to 4. It is nog appropriate to expand the appeal beyond the
i ni(ial problem and or requests. These issues will not be addressed, as you have nod provided evidence that you
a~lcmplcd to address them a~ the lower level, per the Calilornia Code of Reg~rlations (CCR), Title 15, Section
3054.1(b).

                                                                                                                       P.O. Box 588500
                                                                                                                  Elk Grove, CA 95758

                                                                         ~
                                                                         ?
  Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 46 of 53 Page ID #:498
                                                          —~                                        L.'fURNER, G0~79~
                                                                                                     SAC HC I~0~OS62
                                                                                                            Pagc 2 oC 2

[nmalcs n ay not demand p~irlicular mcdi~alion, di~i~ni~stic evaluation, cuursc of U~catnlcnt, ~~r accummodalion
chron~~s. The California Code o(~ Regulations(CCR), Title 1~, Section 33~~1, Health Care Responsibilities and
l imitations,(~~) nuthorizcd Stal'I~. stags,"Only facility-cm~loyeei health care staff, conU~actors paid to perform
health services for the l~~icility, or pers~~ns employed as health care consullants shall be permilCed within the
                                                                                                                  scope
v1 their licensure, to diagnose illness or, prescribe medication and health c,~re treatment for inmates. No other
personnel or inmate may do so."

After revie~a~; no intervention a[ the Director's Level of Review is necessary as your medical condition has been
c;valua[ed and you are receiving treatment deemed medically ❑ecessary.

RULES AND R~GULATI0~1S:
The rules gi~verning Chose issues are: California Code of Regulations, Title 15; Inmate l~ledical Services Policies
a nd Procedures; and the Dcpartmcnt~ Operations Manual.

ORDCR:
No changes ur modifications arc required by the institution.




J. Lewis, Dcl~uly Director
Policy and Risk Mana~emcnt Services
California Correclion~~l ~[callh Care Services




                                                                                                             P.O. Box 588500
                                                                                                        Elk Grove, CA 95758
                                                                       ~~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 47 of 53 Page ID #:499
                                                                               ~ ,,             ,;

                             •war         a ~..     4 ;i~ ~ 3 F'      ~:~"°'} arm ;—: x ~..    .,~    ~:»~ u




                             HEALTH CARE SERVICES
  Hate: ~/21/zols                                                                             REJECTION NOTICE
 "To:             TURNER,LAFONZO (G05794}
                  A 002 1014001LP
                  California Statc Prison —Sacramento
                  P.O. Liox 29
                  Rcpresa, CA 95671-0002

  Tracking/Log #:                   SAC HC 15031162

  it has been dclennined your appeal submitted does not comply with appeal procedures established in the
  California Codc of Regulations (CCR)Title 15, Article 8, and is being rejected and returned to you for the
  following rcasun(s):

  Excessive Filings: CCR, Title 15, Section 3084.6(b)(3) states,"The inmate or parolee has exceeded the
  allowable numher of appeals filed in a 14 calendar day period pursuant Lo the provisions of subsection
  30$4.1(~.~~

  Appeal SAC HC 15031161 was received by the Health Care Appeals O('fice on 6/30/2015 and this appc~il was
  received on 6/30/2015. Please wait 14 days before submitting a new 602-HC once a 602-HC has been lil~d with
  the Health Care Appeals Office to avoid a delay in processing.

  For your appeal to qualify for processing, you are advised to take the necessary corrective action provided in this
  notice and resubmit the appeal within 30 calendar days.


        1 ~-/ ~     ~'y'.~
             L~
  Klingenberg, K.
  Health Care Appeals Office
  California State Prison —Sacramento


  Please note that the 1824 included in this appeal packet, dated 5/11/2015, was never received or processed by the
  Inmate Appeals Office in tf~e Reasonable Accommodation Panel. This should be submitted to the Inman:
  Appeals Office for further processing.




  Rejection Noic: Bc a~viscd ghat ynu cannot appeal a rejected appeal, buy should lake the corrective action necessary and resubmit the appeal w chin the
  timcframes, 30 calendar days, as spccifieJ in CCR 3084.G(a) and CCR 3034.R(b).

                                           ""PERMANENT APPE'sALATTACHMGN"C-DO NO"1' REMOVE•'•



                                                                                        1~
    Case 2:15-cv-00109-JVS-AGR Document
                                     ~` 85 Filed 09/01/16 Page 48 of 53 Page ID #:500
h




                                                                                                                                                    `~ _~ ~
                                                                                                                                                     .,~~
    ~~~t~: ~/la/2o~~                                                                               REJECTION NOTICE
    To:          'TURNER, LAFONZO (G0579-~)
                 A 002 1025001LP
                 California Slatc Prison — Sacramcnlo
                 P.O. I3ox 29
                  Rcpresa, CA 95671-0002

    Tracicing/Log #:                   SAC I-IC 15031162

    It has been detennincd your appeal submitted does not comply with appeal procedures established in the
    California Code of Regulations(CCR)Title 15, Article ~3, and is being rejected and returned to you for Chc
    following rcason(sj:

    Appeal Status at Lower Level At the First Level of Review, your appeal was rejected clue to excessive filings
    and you were inslructccl to resubmit the appeal 14 days after you had submitted another appeal.

    Bypass Violation: CCR, Title l5, Section 3084.6(b)(15) states, "Tile inmate or parolee has submitted the appeal
    1'or processing at an inappropriate level bypassing required lower levels) of review."

    D uc t~~ the First Lcvcl a~l~cal rejection, we arc not al~lc to process this appeal a~ the Second Level of Review.
    Please resubinit your appeal fur review aC the First Level.


    For your a~~pcal to qualify for processing, you are advised to lake the necessary corrective action provided in this
    notice and resubmit the appeal within 30 calendar days.

          ~~,%       ' i__%~..
                        i.~      -
    I{lingcilhc:rg, I<.
    Health Care A~pcals Office
    California Slalc Prison — Sacramcnt~~




                                                                                                                                            ,.r   +̀      ~.
                                                                                                                                          4'.~t.,.i '~
                                                                                                                                                          ~\.`

                                                                                                                                           r ` I'                r1


                                                                                                                                                                      l~



                                                                                                                                             '
                                                                                                                                             `~ ~j ~~ 1
                                                                                                                                 e~     ~1_T ~) '1 ~9'~

                                                                                                                                  ~'i      -~ ,
                                                                                                                                              -,      ,
                                                                                                                                                      '
                                                                                                                                                      ~L ,
                                                                                                                                                         i.

     Rejection Nutc: Bc advised th;il yew c=:r~nci a{~pcal a rejected appeal, but should l~il<c the corrective action n~ccssary and resuhnm'fl d iPPt,nl`wilhin ~hc
     limcframcs, 30 calcnd;u d;iys, as spcci[icd in CCR lOS4.G(.i) and CCR 3054.8(b).

                                                 `"`PfiR~tANI:N"I nPPI nL A"1`I'nC11~11',N'['-0O NOT Rf:~~tOV[i""

                                                                                                      63
    Case 2:15-cv-00109-JVS-AGR Document 85<~Filed
                                             ~'- 09/01/16 Page 49 of 53 Page ID #:501
       ~.,
       >,. .   ~: ~~


                                                                ii                                                \ _~
                                                                                                                     -,l~,~

                          A         .~~ i a~
                       -C~ 1,~•M~
                              ~ i   ') ~ ~ f `;~;
     Date:                                                                        REJECTION NOTICE
     To:           TURNER,LAFONZO (G0~79=4)                                ~--=_-----
                                                                                                           ---__—~
                   California Sta[e Prison -Sacramento
                   P.O. Boy 29
                   Represa, CA 9671-000?


     From:         California Correctional health Care Services
                   Inmate Correspondence and Appeals Branch
                   P.O. Box 5~~~00
                   X11: Grove, CA 9~7~5      .


    Tracicing/Log #:                   SAC HC 15031162


    [t has been determined your appeal submitted for Director's Levei Review does not comply with appeal
    procedures established in the California Code of Regulations(CCR)Title 15, Article 8, and is being rejecicd and
    returned to you for the following reason(s):

     Rejection at Lower Level: Your appetil was rejected by the inslilulion at the lower level for the reasons listed
     below. Comply with the instructions provided in the rejection notice and submit your appeal to the Health Care
     Appeals Coordinator al your institution for continued processing.

     You must submit your health care appeal to the Health Care Appeals Office at your institution for
     processing at the first bevel of Review, followed by a Second Level of Review before suUmitting it for
     Director's Level Review.

     Bypass Violation: CCR, Title 1 ~, Section 3084.6(b)(l5) states,"The inmate or parolee has submitted the appeal
     for processing at an inappeopriate level bypassing req~~ired lower levels) of review,"

     You must first sirbenit your health care appeal for a first and Second Level of review ~t your institution
     before submitting it for a Director's Level Review.


     C~ ,~~~ L ~
~~J. Lewis, Deputy Director
~
,~`' Policy and Risk Manabemenl Services
     Calit'ornia Correctional Health Care Services




      Rejection Note: Please make the changes or corrections requested and resubmit the original appeal within thirty calendar
      days.
                                       *""PI_,RMANLNT APPCAL ATTACEIMGNT-DO NO"I' RCMOVC***


                                                                                                                     P.O. Box 588500
      !~iCALTI-i CARE SE~~''~~~ cs                                                                              Elk Grove, CA 95758
         Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 50 of 53 Page ID #:502


    STATC OF Lr\LI=c;FiV A                                                                                                                                                               DL=PAfZTNIEI~IT OF COHRGCTIONS AND REHABILITATION
                                                               l :.:
     i~~'1 1 iG~'~"~'~~{-VI ~~I                                         ~~l1-a '-.~N`i~ h                         j [,'. ~\L
                                                                                                                                                                                                                   /
    ~I~C~i 60'? N~ (~~tir. _i i "?I                                                                               ~v           i'''s'+~1~.,¢.'_ (_'i ~',f~C~ ~          1~'~~r.t~~,     ~~,                                                         _Page 1 of 2
                                                                                                                                                                                   __-
    s rn~~l' u5s, U~~U~                                                                                                                                    Institution:             Lori fk:                                                  Category:
    1=rner:;ency Ap~~~;al                                                     (~~r'c;s                                ~~i~io                                   ~.
                                                                                                                                                      ~~                         f_~ ,              ~ ~1~~3~ ~ /' ~'
    Signatur:~:                                            I)2.t~;                                                   FOR STAFF USE DAILY
    You may ~~ppeal any m ~'ic,a.i~ ire ~~i<<~I n~ alibi, or c~ :nt,_il dreision, action, condition, omission, policy or reyulatlon that has a materal adverse
                                                                                                                                                               effect
    u pim yo n wcilnre. Sep Cal~fo~nia Cr,dr~ of Fie ~ ;iations, fit;~~ 15, Scr,~ion (CCi~) 30 4.1 . Yoi-i must send this appeal and any supporting documents
    to the I-leallh Care App~~a{, Cnorclin;ttcr (1 1CAC1 viitliin 3Q cale~~,dar days of the event that led to the filing of this appeal. If additional
                                                                                                                                                            space is
    needrd, only one CDCFi Fori7i c;~2•A ~rii ll be ~~cc;rp,ed. Refer lei CCR 30£34 for further guidance with the appeal process. No reprisals wiu be taken
    for using tl~ie appeal proccs~.
     A~~peal is subject to rt~;~c'.ic:n if cr.~ _~^ ~~ of Yext p~=_r line is exraecled.                                                                                                   1NRITE, PRINT, or TYPE CLEARLY.
                —                ii ~ll~                                                                                                                          ra       pr                       I     _:rrLa r.                           i jnn'ierlt



    5iat L ~                           tiie sub, ~ ,,. . r ~ . .:' y~:,:r a;:~;.~al (=x~ ,~ r!-~: ilrla~icatscn, To See Specialist, etc.):
                                                                                                          ._-- . . ._     .~
        ..,..~,~...A~.~.~..~r~v......~~..«.c..~,~.,~.~.,~.~,~.~.,-...~...v..rw-..~.~~.-.s.:~~~...~„~-.-.~.                            'fir,.-~.,"----                       ..             .. .~,
                                                                                                                                                           •
        ~T               . ~-,~.~ ~,~.~r i ;.. ~ ~ (I y.. , ~ , ~ , ..~          .
                                                                                 . S ~~.' or, A of the CDCIR 602-A):~1?~ LC~L~%`~.~~.~.~c. ~-'. ~
       _:~ __ +.~~` _,                                                       _ ...
                                                                                                                                            ;~
                                                                                                                                                           t s~_,~:i"1
    `
    _~I"_~ d~       x.s_!''q  L' ~       -                        ,,                   ~~°--~ '•.~-~~w' i `( ~.~.'"-~ ~ r~~,~y1J~;1..~ r i .A
                                        _` ,i ~ s_"-~~_~__4~ _ -!    ~.i~ e_ ~~~~_'                                                           L - ~~"~~z ~ ~~y F ~~t'h r
                                                                                                                    - -
                                                                                                                                     ~~r`T 1~`t'L"t L-v ~~l~~s~~.l `[~:>'..
                                                                                                                               5~
    e -~ `~vx I~ l.'~ 'Jr~il.J~_~ .11~1 ) v.._:<.r~~,~. ._..i_~._'~~~_~~1_.~~.r~`:1:.:~ 1'"~~ L~~AJV..,.'- I ,~ y-~~~l ~,l~t~-                    1




                    7            ~~ ~7,1r+,^n            ~ . ry-'
                                                                . ~ " •,~:                            .:             r;. : use ~~.~~t,on
                                                                                                                          ~,                                   i
                                                                                                                                         I3 of t;~e CDCR 6C2-A): _ t9_~t_                                                    ~r ~          Q;.~ C> (~~^1.11.~i>
                         c. t. . (,e C)_ ti                    t ~.                                        ~:.
          _ _1               .~                                     ~
                                                                              I          _,.~                         t _  ~         s~~,~~_ Z.~
                                                                                                                                             _             ._. i J7 1 }.\`  : .                                    31~`~___L1~ ~~1[
                                                                                                                                                                                                                                             -..        ,~ ~
                                                                                                                                              ,a                                                                      7         ~~         {                   t
        ._.11_1
        x                     ._-~__'_~    _.,_~ ._'         L._'..,___..~ r ,..'                                                     ~ ~` P'j f^,,~. '!' '
                                                                                                                      ~~a..... __~.. ~~_r..,~             l. ~. .l i.~ ~%.~'-'-
                                                                                _ __.~._ _,._                    ~----                                 ~_                                                     3 ~TY.~ i''va          C"~   T•~ ~~~~ L ~_       Y~ ~`•)

         --._..                                                                   ~f,
                                __             _--_.           y _.                 - -'-            - _ ..        __.._. ....____._.__ ..                 __._
                         ~     --~ ,
    L.~.~ ~
                                           ~.p:..                  _                                     ~. _ ~ J.

               :t ;uj~~ ~~i li. ~ ~J ~Irr, ,r~ ,r;i: ~ .~!cl~,~, (_~ ~., trust ~Ccour.t ~t~t ~rn:~nl; CGCR 7 10, Ccmprei~iensiv~
             .lc ~ornu~~.~~rl
                        „ ~ , n i P~~ rn. (~i) ~~~~                ,;,-;, i ~..:t for Fleal;li Cai ;~ Services; etc.):


        ..~ `lo~ I haa~ n~~ att ~~ I ~-~.1 ~_tr y                                   i~~~;o~ ~i ~~~~ docur~vnt~ F~~;alson :--                               ---                                                                                      -

                                                                                                                                                                                                        1.~~.
                                              __-         ~-
    ~::l~i ...f              .~ ~ ~                             __~7~~ 1 .._ .t                         ~~~ ~'~,_ ~ic :~.s.
                                                                                                                                      ,:                                                                           w~
                _ ___--- ---_ l r                           ,.                                                                                          ~c]i.3 J1.i ~ifYilttl.4~:~~~1,:

            i                                                                      . ,;   t , ._ x ;
                                                                                                            t~;; , ! m~aivc m~~ rigfik to receive an int^rvie~v.
                                                                                                                                                      -      - -       ---    __
                                                                                         ~__.~,.~. __,~~..,m.~~~:.gACli~r!< Or ~ Is CDC13 60~ A at?ached?                                                                    ~~Yes         ~No
                                                                                   `~_"`
                  i Vi        i~~p~,al h., r,c .~ .:~                                                               Cl iecl< O~ie~ I tfii~~ a r~cat~r~onzed/converted 1 ~3?4?                                                ~ ;'es        ~No
    ~ ~.~ i / ` 1. ,Cl) ll Ills: I If ~                         r-,`/         Gf ":lv~r 1 (i0 l0                  t3C[i( I"1 ~.
                                                                                            ='
      4%~ i~]~,~ted (~~~~ alt~~,~ia,a ic_ ~,i <<,. ~is~ ~ ~_tlrn)         D.~t~    ~; I ~',~ f~at~'.                     Date'.               Date'.
    ~~C::.nct;11~~1 (Sae alt~ch~~~d Ir-,l`cr):                            Date; ---
    ~~A.ccepted As~ir~ned to: ______ _ _                                _                           Title:                    Date Assigned:            Date Due:
      Flr t Level F1e::~~:oi~i;er: Coi-~~~;I :~-; ~i F iia~ Lc~iel re;~.ons~,. Include Int~rvie;v~r', name, title, interview date, location, and complete the section below.
                               Dslte of Int;_=rvi~4^r _ ------              ------.__------._. Intcrvie~ri Location:-
      You~ appr:al i~;~~~ is:                  ~~Grant~d                     Granted in part       Denied                   Other:
     ~~~r ~ ~cl~cr' I< < ~      fr r1~ ~'t~      d ~d `h I t L_ i~~r  I    rnr ~ r_omtiletr Section D.
~       L fli lhility~C rr ~~~~                        ? d,"~                          ~~;; n.      ~3. ~I( . hvc C~7r > »unir~tin,~~_                  llt~l'Vi(:~N COI1dUCfBC1?           ~ YES                      ~NO

        _: I'.Ai71= scorn - d U                        'Ad~liticnul iirie                            ~_ !"I asked quasiions                             ~r•~t~;rvirvver.                                                                      Title:
        ~_1 DPI I _! DP`/ ~_ LD                         Lc~~~ii i, ~wr~l - Si I                      ;; P!I sum
                                                                                                              `med irfci ~nalicri                                                            1 P,~nl'I,,,.,.-, ~
        _l: ~i ~~"7 _ ~~~~~-~~                          ._. ~.~~~~'~1   - I       . . J~I~:'.~~n.     ry ~1       l.I1i.!:i~ n~~!'.
                                                                                                                                                        3igi~,afure. __                                                      Date complet~,d:.
        C f~Nr~ ~: DDP                                 : I„ts r~ _: Trar, ~;iihe L_ f Ic~t re~~chad ~_,~ Rearh-r~.l
          P lor gppli~;~bl~                            - C;i~,~:r'               'S.a: ~hronc/rol:s
                                                                                                                                                        ~~ eviewer:                                                                           Tltl~:
        d Coi~~menls_______ _____- __ .                                                                                                                                                      ~F~~,r r~:~m,:,
                                                                                                                                                        ~Ic~tl2llJf~:             ___..

    FICnC i.ise 0~~!I'.~                                          ~~ ~                  i                                                               -~rAC UsF Only
                                                                                                                                                        Dal:; closed and m~:iiled/delivered to ap

                                ~ ; " z~:       •~t       (~
                                                            ~ , r~
                                                                                                                                                                       ~~                                                       ~,         ~rl q ~ ?,~ ~,
                                    '~ -~~ ~

                                                                                                                                                                                                                                             ~~ —       ~ ~,
           Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 51 of 53 Page ID #:503

Sale o(Cali(ornia
                                                                                           ~~                                       De arlmenl of Corrections and Rehabililalion
REASONABLE ACCOMMODATION                                                        INSTITUTION (staff use only):              ECG      LOG NUME3ER (staff use only):
REQUEST                                                                                                                    Y/N
CDCR 182a (rev' 7I2L'14)
                                                                                                                                    Date Received by Staff (staff use only):
                         ""TALK 1'O STAFF IF YOU HAVE AN EMERGENCY'"'

  too not use a CDCR 1824 to request health care or to appeal a health care decision. This
  m ay delay your access to health care. Instead, submit a CDCR 73G2 or a CDCR 602-HC.

I NMATE'S NAME (Print)                                                         CDCR NUMBER                IASSIGNNIENT                                HOUSING

lti..  ~             l~   I ll ~?~.
I NSTRUCTIONS
v     You may use this form if you have a physical or mental disability or if you believe you have a physical or mental disability.
      You may use this form io request a specific reasonable accommodation which, if approved, will enable you to access and/or
      participate in a program, service, or activity. You may also use this form to submit an allegation of disability-based discrimination.
        Submit this form to the Custody Appeals Office.
        The CDCR 1824 is a request process, not an appeal process. All CDCR 1824 requests wil l receive a response. Do not use an
        1 824 to req~~iest a response for a group of inmates If you have received an 1824 decision that you disagree with, submit an
        a p;;~al (CDCR 6C2, or 602-HC if disayreei;,g v~✓itl~ e ...edical diagnosis/treah~~~.~1 deris!on).

UUHAT CAN'T YOU DO I WHAT IS THE PROBLEM: .i_ (~~=\;.'; i\4('~ L.:,jC~ ~ ~1"? i~' (1~?L~ hi ~~Pc--=~:~~j L(~„ rL
                       r
                                       ..             _ ,.                                                                                                                                 (
           _ '_ i Lr~ : a'.f1:' ~ ``"~ !' r( ~~ti 17~ _( ~~~ ~i\3,C.I.a,7-_~'-i.-_"~~_. ~iii iv'    [
                                                                                               ~~ 1__` .r=i 1L~~"2 f-a
                                                                                                                    ` 1' ~                                   ~dCr~' 1~;•~~~1~;1
    ~     ,.•._                                                                                                                                                                          ~`1
                                                                                                                                                                                           -
                             --                                       _.            _.        _. ,-__                                                        ~-__      _~-

                                                       ~-'~#,~        _ ..                                  ,.} _~~ ~-
 W FIY CAN'T YOU DO IT:                     _. ~,,;                            +~:,Ll_ ~        '~Ft73L:~..i
                                                                                            1~~~;                     I t,}K1
                                                                                                                            ( ~'.'~: i L._h-~'( ,-~• C l ~J_ (Z c_r

                                                                                                                   "~~c -                -----           -                  ---


 V11HAT DO YOU NEED:='~'                              i~,~''~~-..
                                                                   r~-\`~ l c►i ~?'~ ~~►-~Z K_'_ ~-~"1 ~' ~1 ~~' _~_T ~' ~~:~~~~"1~(~~ >S}E
                                                                                                                                                --
  i9      (<:+ r > , _                                                          r,             ,~r -{~ti ;~e~ '•c t"~~\`ice i'~~~~~
 -3                       ~~~_~~~ ;:- t               r,•, ~ •~.1~•~" ~._~'~c _,~ (_'_ - ~~~_Y
                                                                                          -                                            -  '_/~{~t~~
                                                                                                                                -    -~-
            1̀                __ ,                                    ~, ' a ~          ____                  J
                                            _y                                                                        1
                                                                                                      .,
                                                                                                     ri
                                                                                                                               l -~
                    ---           `-                         -`   -                           —      ----L 1--


                           _ ________                                      _     ____                                      (use the back of this form if you need more space)
Which of the following best describes your disability that caused you to file this request:
f7 Difficulty walling or getting around                      ❑ Difficulty seeing               ❑ Difficulty hearing        ❑ Difficulty talking           ❑ On kidney dialysis
❑ Diificu!ty using arms.'hands                        ❑ Difficulty !earnine                    ❑ Diffic~_!Ity thi ~J<,ing o .:n~'~-s'~nding          ~ fd!e,~'a' ~,^pa;rm,~r„

❑ Other Disabil ity (brefly describe):


 UO YOU HAVE ANY DOCUMENTS THAT DESCRIBE YOUR DISABILITY?                                                                              Yes       .     No ❑         Not Sure ❑
 (List and attach doa.~ments i( available, including: 1845, 7410, 128-C):



 ~mderstand staff have~a right to interview or examine me, and my failure to cooperate may cause this request to be di 3~~~~~
                                                                                                                           r
                                                                                                                              ~fi! %'~ ~'= t
                       f~           „     ,~_~
                                  .t            .-_J
                                                                                                                                ~ ;~0
    ~T=                                                                                                                 _ 1 Ci,~; _1 ~ ~~
~` ------- ------1~IMATE`S SIGNATUR ~'                                                           DATE SIGNED ~
                                                                                                                             ~~ ~ ,.,T,                                           ~~ r   - r   ~
Assistance completictg thi form provided by:
                                                                                         Last Name                     First Name                             Signature ~'`'~~
                                                                                                                                                                         .~

 ❑ IAP is not required as the CDCR 1824 contains
   no disability access or dfscrimina`ion issues.                                                           Person making determination                             Title

                                                                                                                   T
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 52 of 53 Page ID #:504




                            PROOF OF SERVICE
                            (C.C.P. §31013(a); 201~.~; 28 U.S.C. §17-16)


            I, ~~~/~(~c~? ~ _~t~~~_, am over the age of eighteen
                                                                                  (18) years,
      and I(am) (am not) a party to the t~~~ithin cause of action. My~ addre
                                                                             ss is:

                                 CSC. ~~
                                 ~ a . ~~X a~'c~C~

                   ~~~
             On,                         ~c.~2O'~~, I served the follo«~ina documents:




      on the belo~~ n~mzd indi~~idual(s) by~ depositing true and correc
                                                                        t copiz5 thereof in
      the United State mail in Represa, California, with postage fiilly
                                                                          prepaid thereon,
      addressed as folloti~ s:

             1.     I c"~IJ~t'Gi~n~'~2~L_
                             .
            '~~C`C: ~~~~ r/ . ,~~~`~/Cj.~~'T"
                                          ~.
              ~SL~-
                  -7- ~ ~c~~
                                    ~~1~
              I ha~-e read the above statements and declare under the penal
                                                                              ty of perjury' of
      the la~~~s of the State of California t at the fore ins is true
                                                                      and correct.
      Executed this          day of                           ~G'~6        at California State
      Prison -Sacramento, Represa, C ~ o
                                                                           ~ ~\'~—~


                                       (Signature).~fjj/~~~:~~
Case 2:15-cv-00109-JVS-AGR Document 85 Filed 09/01/16 Page 53 of 53 Page ID #:505




                                                                                    ~~   ~~~ C~ ~ ~          ~ ~~~
                                                                                                                           ,
                                                                                                                           . ~
                                                                                                                     ~~.                                                     J
                                                                                                                                                                                 ~~"
                                                                                            i~
                                                                                                 ~~C~/ V
                                                                                                        ~~
                                                                                           ~
                                                                                           .~q~
                                                                                                  ~~~0aM                                                                     c~
                                                                                                                                                ~~~-;Fo,,En
                                                                                                                                           ~~      n~~a;~~r;,-~r,i~Rt'
                                                                                                                                       _                   ,_r_ __.
                                                                                                                                                                         k
                                                                                                                                 ~ .        Cz ~ ; .
